                                                               Exhibit B
Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 1 of 43




                      In The Matter Of:
                      Ervin J. Marshall v.
           Burlington Northern Santa Fe, LLC; et al.




                              Joseph Buelt
                              May 31, 2019




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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 2 of 43
Ervin J. Marshall v.                                                                                      Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                                 May 31, 2019
                                                     Page 1                                                     Page 3
 1            IN THE UNITED STATES DISTRICT COURT              1                       I N D E X
                  FOR THE DISTRICT OF KANSAS
 2                                                             2
 3                                                             3   WITNESS                                     PAGE
 4                                                             4   MR. JOSEPH BUELT:
 5                                                             5
 6   ERVIN J. MARSHALL,                                        6     Direct-examination by Mr. McKee             4
 7                     Plaintiff,                              7
 8     vs.             Case No. 2:18-CV-02385-JWL-JPO          8
 9   BURLINGTON NORTHERN SANTA FE, LLC,                        9
     d/b/a BNSF RAILWAY COMPANY,
10                     Defendants.                            10   EXHIBITS:
11                                                            11   Buelt Deposition Exhibit No. 26             55
12                                                            12   Buelt Deposition Exhibit No. 27           114
13                                                            13   Buelt Deposition Exhibit No. 28           142
14                  D E P O S I T I O N                       14   Buelt Deposition Exhibit No. 29           144
15                                                            15
16        The deposition of JOSEPH BUELT, taken on            16   Signature of Witness                      164
17   behalf of the Plaintiff, pursuant to the Federal         17   Correction Page                           165
18   Code of Civil Procedure and Notice, before:              18
19                 Sandra K. Powers, C.S.R.                   19   Certificate of Certified
                                                                   Shorthand Reporter                        166
20   a Certified Shorthand Reporter of Kansas, at 4515        20
21   Kansas Avenue, Building 4, Kansas City, Kansas, on       21
22   the 31st day of May, 2019, starting at the hour of       22
23   11:05 a.m.                                               23
24                                                            24
25                                                            25

                                                     Page 2                                                     Page 4
 1                A P P E A R A N C E S
                                                               1             PROCEEDINGS
 2
                                                               2      Whereupon,
 3            The plaintiff appeared by his counsel,
                                                               3               JOSEPH BUELT,
 4   Mr. Aaron C. McKee, of McKee Law, LLC, Attorneys
                                                               4   of lawful age, having been first duly sworn on his
 5   at Law, 222 South Cherry Street, Olathe, Kansas
                                                               5   oath to state the truth, and nothing but the
 6   66061.
                                                               6   truth, deposes and says:
 7            The defendant appeared by its counsel,
                                                               7              DIRECT EXAMINATION
 8   Mr. David C. Vogel, of Constangy, Brooks, Smith &         8   BY MR. McKEE:
 9   Prophete, Attorneys at Law, 2600 Grand Boulevard,         9       Q. I guess still good morning. My name is
10   Suite 750, Kansas City, Missouri   64108.                10     Aaron McKee and I'm an attorney representing Joe
11                                                            11     Marshall in a lawsuit that he's filed. You
12                                                            12     understand that?
13                                                            13       A. I do.
14                                                            14       Q. Okay. Can you please state your name for
15                                                            15     the record?
16                                                            16       A. Joseph Buelt.
17                                                            17       Q. And what is your home address?
18                                                            18       A.
19                                                            19       Q. Okay. Do you have a cell phone?
20                                                            20       A. I do.
21                                                            21       Q. Is it a company phone?
22                                                            22       A. It is a company phone. I don't have it
23                                                            23     on me.
24                                                            24       Q. Okay. That's fine. What is your current
25                                                            25     position?

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 3 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                  Page 5                                                     Page 7

 1     A. Manager of Engineering.                           1     Q. So you and I very well may have a
 2     Q. Okay. Have you ever participated in a             2   different understanding of it. What I'm thinking
 3   deposition before?                                     3   about is -- you're saying that it was attendance
 4     A. Yes, I have.                                      4   related and so was it some type of a process that
 5     Q. Okay. Tell me about that.                         5   was internal in which somebody was trying to
 6     A. A deposition for a gal at the Taconite            6   challenge their termination?
 7   facility, had a fire on the dock, asked me to          7     A. No, it was external through courts.
 8   answer questions.                                      8     Q. Okay. And so they were claiming that for
 9     Q. Okay. Any other depositions you've ever           9   some reason they were wrongfully terminated?
10   been a part of?                                       10     A. Yes.
11     A. With BNSF, no. With my previous                  11     Q. Okay. And were you any of those
12   employer, yes.                                        12   individuals' manager?
13     Q. Who was your previous employer?                  13     A. Was I their direct supervisor?
14     A. Cooper Industries.                               14     Q. Yes.
15     Q. When did you start with BNSF?                    15     A. Yes.
16     A. 2011.                                            16     Q. Okay. Do you remember the names of those
17     Q. And what was the deposition you were a           17   people?
18   part of prior to BNSF?                                18     A. No.
19     A. Those depositions were personal injury,          19     Q. Do you recall when the last one was?
20   discharge. In other words, a person being             20     A. No.
21   discharged from the company for cause.                21     Q. Do you recall any more about what they
22     Q. And you were -- do you recall how many           22   claimed?
23   times you were deposed in matters involving people    23     A. No.
24   that were discharged?                                 24     Q. Do you recall what happened to those
25     A. I don't recall the exact number but it           25   lawsuits? Did they go to trial?

                                                  Page 6                                                     Page 8

 1   was more than three, less than five.                   1     A. No.
 2      Q. Okay. And what state were you in?                2     Q. Okay. What happened, do you know?
 3      A. Wisconsin.                                       3     A. They were dismissed.
 4      Q. Now, were the allegations made about             4     Q. Okay. When you say they were dismissed,
 5   anything that you had done?                            5   the court ruled on them and dismissed them?
 6      A. No.                                              6     A. That's my understanding, yes.
 7      Q. Okay. Were they for people that were             7     Q. Okay. Do you recall why?
 8   claiming discrimination?                               8     A. No, I don't know.
 9      A. No.                                              9     Q. Okay. And you say you don't recall when
10      Q. Okay. I'm trying to think, were they --         10   the last one was?
11   but they were employees or former employees that      11     A. No.
12   were suing the company?                               12     Q. Okay. Now, at some point you transferred
13      A. Yes.                                            13   to Kansas City while working for BNSF?
14      Q. Okay. Were they claiming -- what were           14     A. Correct.
15   they claiming to your recollection?                   15     Q. Approximately when was that?
16      A. For the most part it was attendance.            16     A. 2015, May, June. May was when I took the
17      Q. Okay. And so was that through the               17   position. When I transferred here was October,
18   grievance process?                                    18   when I moved down here.
19      A. It was --                                       19     Q. Okay. And why were you transferred to
20      Q. I'm just trying to figure out -- because        20   Kansas City? Was it voluntary?
21   I just want to make sure we're talking about the      21     A. I requested it.
22   same thing. I make the assumption that everybody      22     Q. Okay. And why did you request a transfer
23   knows what a deposition is and then I realize it's    23   to Kansas City?
24   not something that people do every day.               24     A. I wanted to do something different.
25      A. No.                                             25     Q. Okay. Had you ever lived in Kansas City?

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 4 of 43
Ervin J. Marshall v.                                                                                 Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                            May 31, 2019
                                                 Page 9                                                    Page 11

 1     A. No.                                              1     Q. Did you ask Dwayne Curbow why Joe
 2     Q. Have any family in Kansas City?                  2   Marshall was joining the Facilities group?
 3     A. No.                                              3     A. I think I told him something like this,
 4     Q. It was you saw an open position and              4   "Thanks for the opportunity. I look forward to
 5   decided to bid for it?                                5   dealing with it."
 6     A. It was the type of work that I had wanted        6     Q. And so did you -- when did you learn
 7   to do.                                                7   about what Joe Marshall did as far as his job
 8     Q. Okay, all right. And so when did you             8   duties?
 9   actually start working in Kansas City? It sounds      9     A. When I met with Joe, June or July. I
10   like you moved here a few months after you           10   don't remember if it was June or July of 2015 and
11   started.                                             11   asked him, "Joe, what do you do?" He went through
12     A. Took the position in May of 2015. I             12   what he did.
13   moved myself and my family here October of 2015.     13     Q. Okay. So prior to June of 2015 was the
14   I was working out of this office June of 2015 but    14   Facilities group handling scales?
15   this was my headquarters when we moved here.         15     A. I don't know that. I was told no, but I
16     Q. Okay. Now, do you recall when you               16   don't know that for sure. They may have in the
17   started to work with Joe Marshall?                   17   past but I don't know the complete history.
18     A. Yes.                                            18     Q. Okay. Did you have a background in
19     Q. Okay. Tell me about that, when that was,        19   scales?
20   approximately.                                       20     A. I have a basic understanding of what
21     A. Approximately June of 2015.                     21   scales do. I had no understanding of what a
22     Q. Okay. It's my understanding that Joe            22   railroad scale does, is or was.
23   Marshall was working in a different department or    23     Q. Okay. So help me understand, what was it
24   group prior to being assigned to you; is that        24   that Joe Marshall was going to do or what was your
25   right?                                               25   understanding as to what Joe Marshall was going to

                                                Page 10                                                    Page 12

 1     A. I don't have any understanding --                1   do when he was transferred into the Facilities
 2   knowledge of that, but I was told that, yes.          2   group?
 3     Q. Okay. So -- and what was your title              3     A. He was going to manage the scale --
 4   again?                                                4   manage the scales and operate and maintain the
 5     A. Title is Manager of Engineering.                 5   scales across the system.
 6     Q. Okay. So when you started in June of             6     Q. Okay. And are those scales nationwide?
 7   2015, that was as part of the Facilities group?       7     A. They're scales -- yeah, I don't think
 8     A. I'm in the Facilities group, yes.                8   nationwide. On our system, our system isn't
 9     Q. Okay. And when you started did you -- do         9   nationwide, but...
10   you recall who you managed?                          10     Q. Okay. Did Joe Marshall have some kind of
11     A. I do.                                           11   territory that he covered?
12     Q. Okay. Who did you manage?                       12     A. The system.
13     A. Derek Brown and Bruce Stuff.                    13     Q. Okay. So is that anywhere that a scale
14     Q. And what about Joe Marshall?                    14   is on the system?
15     A. I was told about him in June, that he was       15     A. Anywhere a railroad scale is on the
16   going to be joining my group.                        16   system, yes, that is BNSF owned, not necessarily
17     Q. Okay.                                           17   customer owned.
18     A. When I started it was just those two, but       18     Q. Were there any other people that were in
19   he was added.                                        19   the Facilities group that had knowledge of working
20     Q. Okay, all right. And who told you that          20   with scales?
21   Joe Marshall was going to be added to your group?    21     A. Not to my knowledge.
22     A. Dwayne Curbow, my direct supervisor.            22     Q. Okay.
23     Q. Did Mr. Curbow tell you why Joe Marshall        23     A. They may have but I didn't ask them.
24   was going to be joining the Facilities group?        24     Q. Okay. So at some point in June, 2015,
25     A. No.                                             25   you meet Joe Marshall?

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 5 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                 Page 13                                                   Page 15

 1     A. Yes.                                              1   inspectors, and we were down to one at the time,
 2     Q. Okay. Do you recall that first time you           2   and we were either going to train people to be
 3   met with him?                                          3   scale inspectors or we were going to have to hire
 4     A. Yes.                                              4   people to do that, that had the institutional
 5     Q. Tell me what you recall.                          5   knowledge to do that. The decision was made that,
 6     A. I recall meeting him at the North Town            6   you know, if and when Joe left the position we
 7   Yard at the scale. We met, introduced myself. I        7   were going to move to that role, that model, but
 8   didn't know who he was, I had to find out who he       8   somebody still needed to manage that program from
 9   was first. You know, I didn't even know --             9   a BNSF standpoint.
10   wouldn't recognize him and he didn't recognize me     10     Q. Okay. And you said if and when Joe
11   either so we had to introduce ourselves. Asked        11   Marshall were to leave that position. What did
12   him to go through what is a railroad scale for me,    12   you mean by that?
13   just show me what it is so I can get a basic          13     A. Means that on the railroad, or most large
14   understanding of what it is. They were doing a        14   companies, positions get put on a bulletin and
15   project at that time of doing the approach, I         15   people have the ability to post for them and they
16   believe at that time on that scale, so he was         16   can move from this job to that job. Like when I
17   overseeing that project at the scale, and then we     17   moved from Superior down here, I requested it. If
18   went through his PMP, midyear PMP that Madlyn had     18   you're approved for it you get to move.
19   written.                                              19     Q. Okay. Do you recall ever having a
20     Q. Okay.                                            20   conversation in which Joe Marshall told you that
21     A. And needed to be completed sometime              21   he was planning to retire when he was sixty?
22   during that period.                                   22     A. No. I recall a conversation, I says, "Do
23     Q. And at some point it seems like you and          23   you have a retirement plan, Joe?" I don't
24   Joe Marshall began to disagree. Does that --          24   remember exactly what he said. I don't recall him
25     A. At that meeting?                                 25   saying "I have a plan to retire when I'm sixty,"

                                                 Page 14                                                   Page 16

 1     Q. No, no, I'm not saying at that meeting.           1   or sixty-five or sixty-two or anything.
 2   I'm saying at some point you and Joe Marshall          2     Q. Tell me more about what you recall of
 3   began having some problems working together; is        3   that conversation.
 4   that fair to say?                                      4     A. As I said, I don't recall him saying that
 5     A. There was some discussions, yeah.                 5   he was going to retire at a specific age.
 6     Q. Okay. Tell me about that.                         6     Q. Okay. Did Joe Marshall ever tell you
 7            MR. VOGEL: Object to the form of the          7   that he was considering retiring when he worked
 8   question as vague and overly broad. You can            8   for you at the Facilities group?
 9   answer if you can. You can answer.                     9     A. When we have somebody who's close to
10     A. Well, I was going to say, it's -- the            10   retirement we kind of ask them, "Do you have an
11   process that BNSF Railway wanted to take the          11   exit plan, a retirement plan? Do you have a
12   position that Joe was in was different than what      12   date?" So we can plan how quickly we need to plan
13   Joe Marshall -- the position was headed before        13   to replace them or replace their skill set, so,
14   that, so the direction that position was going in     14   yeah, I suppose I did ask him that. Do I remember
15   was going to change, and change is hard for           15   exactly when he said he was going to retire? I
16   everybody.                                            16   don't remember.
17     Q. Okay. And how was the direction of Joe           17     Q. Okay. Do you recall if Joe Marshall told
18   Marshall's position going to change?                  18   you -- well, strike that.
19     A. It was going to go from us having the            19          So you say you asked Joe Marshall if he
20   institutional knowledge in-house to having the        20   had an exit plan. What did Joe Marshall tell you
21   institutional knowledge as being a contractor or      21   in response?
22   consultant, moving towards that.                      22     A. I don't remember exactly what he said.
23     Q. Okay.                                            23   My response is we'll support him where -- what he
24     A. Because we used to at one time have              24   wants to do. We'll support him, you know, how
25   multiple people that did scales, or scale             25   long he wants to be here. You know, this here

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 6 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 17                                                    Page 19

 1   process that we're going through, we needed his        1     Q. It says "My biggest leadership issue is
 2   support to move towards that model and it wasn't       2   my dealings with Joe Marshall." Did I read that
 3   going to happen overnight. We needed his support.      3   correctly?
 4     Q. Okay. So would that conversation have             4     A. Yes.
 5   been around the time that Joe Marshall joined the      5     Q. Tell me, why was Joe Marshall your
 6   Facilities group?                                      6   biggest leadership issue in January of 2016?
 7     A. I don't remember. I don't remember when           7     A. If you read the rest of the paragraph it
 8   that conversation exactly happened.                    8   goes on to say, you know, transitioning, you know,
 9     Q. Okay. Do you recall if Joe Marshall gave          9   to deal with accountability of his job, utilizing
10   you any indication that he intended to retire when    10   him fully, what he's doing. Felt he was
11   he was sixty?                                         11   underutilized.
12     A. I don't recall.                                  12     Q. Okay. So you're saying that Joe Marshall
13     Q. So is it fair to say that you did not            13   felt he was underutilized?
14   know if Joe Marshall was going to retire at the       14     A. No, I felt he was underutilized.
15   age of sixty?                                         15     Q. Okay. And so why did you believe that
16     A. That's his decision. I don't know.               16   Joe Marshall was underutilized as of January of
17     Q. Okay. Did you have any reason to believe         17   2016?
18   that Joe Marshall was going to retire at the age      18     A. I felt that there was opportunity for Joe
19   of sixty?                                             19   to do more for the BNSF railroad.
20     A. I do not have reason to believe that he          20     Q. Okay. Tell me why you believed there was
21   was going to retire, no.                              21   more that Joe Marshall could do.
22     Q. Okay. Let's do this, let's go ahead and          22     A. To transition the scale program from
23   start with Exhibit 25 that's sitting in front of      23   where it is -- where it was at the time to where
24   you. I'm going to have you review that.               24   we wanted it to go to.
25     A. Okay.                                            25     Q. Okay. So give me some specific examples

                                                 Page 18                                                    Page 20

 1      Q. Are you familiar with it?                        1   of how you believed Joe Marshall was being
 2      A. Well, it's my PMP from 2015.                     2   underutilized.
 3      Q. Okay. Have you seen that recently?               3      A. Underutilized by taking the travel
 4      A. My attorney showed it to me just a few           4   knowledge that he had and putting that in place so
 5   minutes ago, the first time I seen it since 2015,      5   that a consultant/contractor could operate and
 6   I think, maybe 2016.                                   6   maintain their scales going forward.
 7      Q. Okay. Do you want an opportunity to look         7      Q. And if Joe Marshall's job was to work
 8   through it?                                            8   with the scales, why was -- or were his job duties
 9      A. We can go on.                                    9   being transitioned to a contractor?
10      Q. Okay. If we look on the last page it            10      A. His job duties included other duties as
11   appears that it was electronically signed by you      11   assigned by his supervisor, and that's the process
12   on January 22nd, 2016. Does that appear right to      12   of getting -- the process of reducing what Joe's
13   you?                                                  13   doing on the scale to a consultant or contractor,
14      A. That would be the right time frame, yes.        14   something that was going to happen over years, so
15      Q. Okay. Now, let's flip back to the first         15   you need to change the skill set of what he's
16   page.                                                 16   doing to documenting what he's doing and putting
17      A. (Witness Complies). Yes.                        17   it on paper so we can have a contractor/consultant
18      Q. I want to look down at the part that says       18   do it.
19   "Appraisal by Joseph Buelt," midway down.             19      Q. When you started the position in Kansas
20      A. Yeah.                                           20   City did someone tell you that you needed to begin
21      Q. And I want to go to the end.                    21   transitioning out the scale program to
22      A. Yep.                                            22   contractors?
23      Q. Five lines up it says "My biggest               23      A. I was informed that -- after I asked the
24   leadership issue..." Do you see that?                 24   question, you know, where's the scale program
25      A. Yes.                                            25   going, because there was only one of Joe and his

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 7 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 21                                                    Page 23

 1   tribal knowledge, the skill set he had was very        1   to you that he intended to retire at the age of
 2   unique. How are we going to back fill that if Joe      2   sixty?
 3   transitions to a new position or retires or moves      3     A. I don't recall. I don't remember him
 4   onto whatever he wants to do? How are we going to      4   saying anything.
 5   back fill that? How are we going to take care of       5     Q. Okay. All right. So tell me, this
 6   that?                                                  6   comment here that you made, what was Joe to come
 7      Q. Okay.                                            7   to grips with?
 8      A. So I was told that we're not going to            8     A. The grips of the process going from what
 9   back fill that -- we're not going to train             9   he's been doing to where the scale program was
10   somebody to do that, we're going to hire somebody     10   going to end up being three, five years down the
11   from the outside.                                     11   road.
12      Q. And were you told approximately how long        12     Q. Okay. And so is it fair to say that
13   it was going to take to transition into having        13   essentially Joe Marshall was being asked to put
14   someone from the outside handle the job duties of     14   together a description of his job so that somebody
15   Joe Marshall?                                         15   else could perform it?
16      A. When I was told that I was told to figure       16     A. He was being asked to put together the
17   that out, how long it was going to take, because I    17   skill set of his job that was going to be needed
18   didn't know that and neither did they.                18   for BNSF going forward that was going to be
19      Q. Okay. And what did you determine was            19   contracted out.
20   going to be an appropriate amount of time to          20     Q. Okay. And when did you begin talking to
21   transition Joe Marshall's job duties to a             21   contractors that were going to start dealing with
22   contractor?                                           22   the scales?
23      A. I never had a date or time frame that was       23     A. 2016 sometime. I don't remember.
24   set up when Joe left the position. I was kind of      24     Q. Okay. Was that before or after you heard
25   forced to scramble to get things going.               25   that Joe Marshall was returning to the craft?

                                                 Page 22                                                    Page 24

 1     Q. So when did you learn that Joe Marshall           1     A. Before.
 2   had decided to retire?                                 2     Q. Okay.
 3     A. I didn't know he decided to retire. I             3     A. We started this shortly -- in 2016
 4   was told that he was leaving his position. He was      4   started this process.
 5   going back to the ranks.                               5     Q. Okay. Did you ever sit down with Joe
 6     Q. Okay. When did you learn that?                    6   Marshall and tell him that BNSF was transitioning
 7     A. 2016. I don't remember the date.                  7   his job duties to a contractor?
 8     Q. Okay. Now, is that the first time that            8     A. I told him that's where it was going to
 9   you heard anything about Joe Marshall leaving his      9   go, yeah.
10   position with scales?                                 10     Q. And do you recall what Mr. Marshall said
11     A. Oh, when he presented that, that was the         11   to you about that?
12   first, yeah.                                          12     A. I don't recall exactly.
13     Q. All right. Now, let's look at the                13     Q. Did he seem to be unhappy about it?
14   document. In the second line, the very end of the     14     A. He wasn't pleased.
15   second line it starts out with the word "The..."      15     Q. Okay. Do you recall anything else?
16   Do you see that?                                      16     A. I don't recall exactly.
17     A. Yep.                                             17     Q. Okay. Do you ever recall having any
18     Q. Says "The process of getting him over the        18   meetings with Joe Marshall in which Mr. Marshall
19   methods of the past will take an (sic) transparent    19   was loud?
20   process and allowing Joe to come to grips with        20     A. Oh, yeah.
21   where the job was going." Did I read that             21     Q. Okay. Tell me about that.
22   correctly?                                            22     A. Yes, Joe got agitated, raised his voice.
23     A. Yes.                                             23     Q. Okay. Do you recall ever raising your
24     Q. Okay. Do you recall if prior to this             24   voice to Mr. Marshall?
25   time in January of 2016 Joe Marshall had indicated    25     A. I may have.

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 8 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 25                                                    Page 27

 1     Q. Okay. Do you recall Mr. Marshall ever             1   get a better understanding of the support he
 2   cussing at you?                                        2   needed?
 3     A. I do.                                             3     A. I'm trying to understand what you're
 4     Q. Tell me about that.                               4   asking. I sat down with him multiple times to let
 5     A. He told me I was fucking with him.                5   him express himself and ask him what he did and
 6     Q. Okay. Why did he think that?                      6   how he does it.
 7     A. I don't know.                                     7     Q. Okay. I understand that. But you said
 8     Q. Did you ask him to explain?                       8   that you recall Joe Marshall make a comment that
 9     A. I did not.                                        9   he felt that you were just fucking with him but
10     Q. Why not?                                         10   that you didn't follow up with him about that.
11     A. Because when somebody's in that state you        11   Wouldn't you agree with me that Joe Marshall was
12   just let it lie and come back another day.            12   expressing that he was concerned about something?
13     Q. Did you on another day ask Mr. Marshall          13     A. And he expressed how he was concerned and
14   why he had said that he believed you were fucking     14   I heard it.
15   with him?                                             15     Q. Okay. Tell me what he expressed about
16     A. I just let it lay.                               16   his concerns.
17     Q. Okay. Why didn't you ever talk to him            17     A. He expressed that he didn't see how it
18   about it?                                             18   needed to change from where it was, the scale
19     A. Because we were going through a                  19   process and program, to where the BNSF Railway
20   transition and when you have change there's hurt      20   wanted it to go. If and when Joe transitioned to
21   feelings. Sometimes hurt feelings -- you don't        21   a new role we needed to have somebody to replace
22   need to dwell on the hurt feelings, you need to       22   that skill set.
23   just try to continue to move the ball to where you    23     Q. Okay. And who was it that told you that
24   want it to go.                                        24   you needed to be -- that -- strike that.
25     Q. But wouldn't you agree as a manager that         25          Who was it that told you that you needed

                                                 Page 26                                                    Page 28

 1   part of managing people includes explaining why        1   to have a plan in place for if Joe Marshall were
 2   things are happening?                                  2   to leave that position?
 3     A. I do.                                             3     A. My direct supervisor, Dwayne Curbow.
 4     Q. So tell me, did you -- strike that.               4     Q. Okay. Do you know who -- do you know,
 5          Don't you think as part of being a              5   did Dwayne Curbow -- was that a directive from
 6   manager it includes understanding what the             6   someone above him or do you know?
 7   employees have to say?                                 7     A. I don't know for sure.
 8     A. Yes.                                              8     Q. Do you suspect?
 9     Q. Okay. Let's look back at the first page           9     A. I do.
10   again. Right below where it says "Appraisal by        10     Q. Okay. What do you suspect?
11   Joseph --" how do you properly say your later         11     A. I suspect that that was escalated up to
12   nature?                                               12   Dwayne's boss, Craig Rasmussen, and Craig said
13     A. Buelt, as in Buelt a home.                       13   "We're not going to back fill that position, we're
14     Q. I apologize because I will get it wrong.         14   going to get another strategy. What is that
15     A. It's fine.                                       15   strategy?" And then we had to go back with another
16     Q. I will do my best. It says in the first          16   strategy.
17   line, "As I transition into my new role I have        17     Q. Okay. And when did you learn that you
18   been open to employees by listening to their          18   were not going to back fill Joe Marshall's
19   concerns, needs and challenges to get a better        19   position?
20   understanding of what support they need."             20     A. Early 2016.
21     A. Uh-huh.                                          21     Q. Okay. And that was prior to Joe Marshall
22     Q. Did I read that correctly?                       22   saying that he was going to retire at sixty; is
23     A. Yes.                                             23   that fair to say?
24     Q. Okay. Tell me, when did you listen to            24     A. Before I was made aware of it, yes.
25   Joe Marshall's concerns, needs and challenges to      25     Q. Okay. Now, let's look at the second

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        Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 9 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                  Page 29                                                    Page 31

 1   page.                                                   1   his career.
 2     A. (Witness Complies).                                2      Q. Did you ever put together some type of
 3     Q. At the top it says "Appraisal by Dwayne            3   written document, direction, e-mail, that
 4   Curbow."                                                4   explained or showed Mr. Marshall how his job
 5     A. Yeah.                                              5   duties were going to change over time?
 6     Q. About three lines from the bottom, starts          6      A. I did not. I don't recall.
 7   out with "You had kept your focus..." Actually I        7      Q. Okay.
 8   want to go to the one below that, starts out with       8      A. I don't recall. If I did I don't recall
 9   "...traits..." Do you see that, "...traits listed       9   it.
10   above..."?                                             10      Q. Okay. Do you recall at some point making
11     A. I'm trying to find it here. You're                11   a decision that Andrew Bartell would take some of
12   looking where it says "Appraisal by Dwayne             12   Joe Marshall's job duties?
13   Curbow"?                                               13      A. That happened when Joe turned in his
14     Q. Here's what I'll have you do, read to             14   notice that he was going back to the ranks.
15   yourself -- just read to yourself that --              15      Q. Do you recall ever making any type of a
16     A. There's no trait in there that I've seen.         16   comment to Mr. Marshall that you wanted him to put
17   I'm trying to look for it.                             17   together his job so an employee that was in his or
18     Q. That's fine, just be easier if I just             18   her twenties could do it?
19   have you read it.                                      19      A. I recall telling him that I needed to
20     A. (Witness Complies). Yep. Oh, there's              20   have the job set up so that a college graduate
21   traits, I see it.                                      21   could come in and be able to manage the program
22     Q. I'll start above that. It says "You have          22   with little assistance. If that's somebody in
23   hit every one of the leadership traits listed          23   their twenties...
24   above, especially the demonstration of 'Resilience     24      Q. Okay. And when did you tell that to Joe
25   and Manage Conflict' with Joe Marshall." Did I         25   Marshall?

                                                  Page 30                                                    Page 32

 1   read that correctly?                                    1     A. When we were setting up the program.
 2     A. Yeah.                                              2     Q. So that would have been in 2015?
 3     Q. Tell me about that sentence. Why did you           3     A. I believe so -- 2016, I believe it was.
 4   write that?                                             4   I don't think it was 2015. I don't know. I don't
 5     A. I didn't write it, Dwayne wrote that.              5   have the exact date.
 6     Q. I'm sorry, written by Dwayne, you're               6     Q. Okay. Let me try to clarify. When you
 7   right. Do you know why Dwayne wrote that as part        7   said set up the program, that would have been when
 8   of your appraisal in January of 2016?                   8   Joe was starting in the Facilities group; is that
 9     A. I don't recall.                                    9   what you're talking about? I just want to
10     Q. Okay. Were you having some kind of                10   clarify.
11   conflict with Joe Marshall around that time?           11     A. No, when we made the decision that we
12     A. I don't recall. I mean...                         12   weren't going to develop the institutional
13     Q. Then it goes on to say, "Like you have            13   knowledge in-house, we were going to transition
14   previously said, it is not all his fault the way       14   and hire that out, I told him that whoever is
15   he is." Do you recall ever making a comment like       15   going to manage that program is going to be
16   that?                                                  16   somebody who's going to have -- be right out of
17     A. I do.                                             17   college because it's going to be a -- you know, a
18     Q. Tell me about it.                                 18   Grade 28 or 27 position that's going to be filling
19     A. In a discussion with Dwayne I said Joe            19   that role.
20   was a product of the environment that he was in.       20     Q. Why is that?
21   To transition from that environment where you're       21     A. Because it's what we want somebody to
22   just taking care of scales to being a manager of a     22   start out with, you know, managing something
23   program -- rather than to just running a program,      23   that's set up, that's routine, learn project
24   to manage a program and to establish a program,        24   management skills on that.
25   that's different from what Joe had been doing for      25     Q. So is it fair to say that the job that

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 10 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                Page 33                                                    Page 35

 1   Joe Marshall had been working in was going to be      1     Q. Okay. Did you talk to any of Mr.
 2   significantly reduced?                                2   Marshall's prior managers or supervisors to learn
 3      A. From the BNSF standpoint we were going          3   more about his job in scales?
 4   from having the person with the tribal knowledge      4     A. I did.
 5   and all the skill set to manage and fix a scale --    5     Q. Who did you talk to?
 6   we weren't going to have that anymore, to having      6     A. Madlyn.
 7   it purchased outside and managing that program.       7     Q. And how many times do you recall talking
 8   It's going to change, so in reducing -- the same      8   to Madlyn? Is that Madlyn Guarino?
 9   work needs to be done, it's just who's going to do    9     A. Yes. I was trying to figure out how to
10   it.                                                  10   say her name. Her name is like mine.
11      Q. Okay. Do you recall ever telling Mr.           11     Q. I'm not sure I'm saying it right.
12   Marshall that he didn't have enough work to do?      12     A. I don't either.
13      A. I told Joe that there was an opportunity       13     Q. I just figure if I say it with confidence
14   for him to take on more workload, yes.               14   I might be able to fool people.
15      Q. Tell me why you thought that.                  15     A. Twice that I recall, yeah.
16      A. Because he had a limited amount of time        16     Q. Okay. Did you ever talk to her about
17   or need to be spending on scales. There's not a      17   problems you thought you were having with Joe
18   hundred of these, there's, I think, nine of them,    18   Marshall?
19   approximately, that there's filler time he could     19     A. Yes.
20   be doing some other things.                          20     Q. What do you recall talking to Madlyn
21      Q. Now, at some point you learned that Joe        21   Guarino about Joe Marshall and the problems you
22   Marshall had a company truck, right?                 22   were having with him?
23      A. Joe told me that, yes.                         23     A. She said "Joe's head strong" and I think
24      Q. Okay. And then you went and looked into        24   that's all she said.
25   why -- to find out why Joe Marshall had a company    25     Q. Do you recall if Madlyn Guarino told you,

                                                Page 34                                                    Page 36

 1   truck; is that right?                                 1   you know, anything about how she believed Joe
 2     A. I asked my direct supervisor, "Were you          2   Marshall had performed his job?
 3   aware that Joe had a company vehicle?" He said he     3     A. Other than the PMP that she had written
 4   was not, so I asked "Should he have a company         4   at midyear, no.
 5   vehicle?" He said he would check and get back to      5     Q. Okay. She evaluated him as being a good
 6   me.                                                   6   employee, didn't she?
 7     Q. Okay. And when you say your direct               7     A. I don't recall what the actual ratings
 8   supervisor, is that Dwayne Curbow?                    8   were. I'd have to go look it up.
 9     A. Dwayne Curbow, yes.                              9     Q. Okay. Let's flip -- in Exhibit No. 25,
10     Q. Okay. Now, if Mr. Marshall would have           10   let's flip over to Page 5.
11   continued to perform the job the way that he had     11     A. (Witness Complies).
12   been prior to working -- or being transferred to     12     Q. Do you see midway down it says "Appraisal
13   the Facilities group he would have still needed      13   by Dwayne R. Curbow"?
14   his truck, can we agree?                             14     A. Yeah.
15     A. No.                                             15     Q. Do me a favor, read those photographs.
16     Q. Okay. Explain that to me.                       16   You don't have to read them out loud, read them to
17     A. It's a system job. You don't drive your         17   yourself, and let me know when you've completed
18   truck from Kansas City to Pasco, Washington, you     18   them.
19   get in an airplane and fly there. You don't need     19     A. (Witness Complies). Yep.
20   a truck for that.                                    20     Q. Do you see that last sentence? It says
21     Q. Okay. Do you know how long Joe Marshall         21   "Helping the younger people in the group will only
22   had had that company truck before you took it        22   help them in the long run with future projects and
23   away?                                                23   positions." Did I read that correctly?
24     A. I did not take it away and I don't know         24     A. Word for word.
25   how long he has it -- or had it.                     25     Q. Okay. What did that mean?

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          Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 11 of 43
Ervin J. Marshall v.                                                                                     Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                                May 31, 2019
                                                   Page 37                                                    Page 39

 1     A. To Dwayne, I don't know. He wrote it.               1     A. I do not.
 2     Q. Okay. Well, tell me how you received                2     Q. Do you think it was because you were
 3   this document from Dwayne Curbow. Did he give it         3   transitioning Mr. Marshall's position out to
 4   to you in person?                                        4   contractors?
 5     A. Yes.                                                5     A. No.
 6     Q. Okay. So did you sit and talk about this            6     Q. Okay. Why do you say that?
 7   document at some point with Mr. Curbow?                  7     A. Because I don't know what Dwayne intended
 8     A. Yes.                                                8   for that or said about that. I don't know what he
 9     Q. Okay. And did you ask questions?                    9   was thinking.
10     A. I don't recall if I asked questions.               10     Q. Okay. When you read that what did you
11     Q. Okay. Did you ask any questions about              11   think?
12   this comment, helping the younger people in the         12     A. Help my team to develop so they can
13   group?                                                  13   advance within BNSF.
14     A. I don't recall.                                    14     Q. Okay. But does it seem odd to you that
15     Q. What do you recall about that comment?             15   one of your team members, Mr. Marshall, was not
16     A. Specifically about that comment, I don't           16   mentioned?
17   recall anything.                                        17            MR. VOGEL: Object to the form to the
18     Q. Okay. Do you recall anybody ever telling           18   extent it misrepresents the document in its
19   you that you needed to focus on the younger people      19   entirety. You can answer.
20   in the group?                                           20            THE WITNESS: You said I can answer?
21     A. No.                                                21            MR. VOGEL: You can answer.
22     Q. Okay. Do you remember if Dwayne Curbow             22     A. Okay, it may be odd but I can't respond
23   or anybody else said that BNSF wanted to get some       23   to what Dwayne wrote. He wrote it.
24   younger people?                                         24     Q. Okay. Let's look above that where it
25     A. No.                                                25   says "Appraisal by Joseph Buelt."

                                                   Page 38                                                    Page 40

 1     Q. Okay. Let's flip the page to Page 6 of              1     A. Yep.
 2   8.                                                       2     Q. Do you see that?
 3     A. (Witness Complies).                                 3     A. Yes.
 4     Q. I'm going to have you go down and see               4     Q. The paragraph -- the second paragraph
 5   about midway, says "Appraisal by Dwayne R.               5   starts out "I'm helping Ervin Marshall..."
 6   Curbow." Do you see that?                                6     A. Yeah.
 7     A. I do.                                               7     Q. Tell me -- says "I'm helping Ervin
 8     Q. Now, the first sentence, it says "I look            8   Marshall to transition to a new role as a member
 9   forward seeing you work with Derek, Terry, Bruce         9   of the Facility's group."
10   and Andrew and developing them for advancement          10     A. Yeah.
11   within BNSF." Did I read that correctly?                11     Q. What new role were you transitioning
12     A. Yes.                                               12   Ervin Marshall into?
13     Q. Okay. Do you recall having any                     13     A. The new role where he transitioned out of
14   conversation about this with Dwayne Curbow?             14   Heavy Bridge into the Facilities group, which is
15     A. I don't recall a specific conversation             15   the -- the Facilities group is part of Bridge,
16   about that.                                             16   we're just not Heavy Bridge, we're Facilities,
17     Q. Okay. When you say "about that" --                 17   which is part of Structures, part of Bridges.
18     A. About advance -- "I will look forward              18     Q. Okay. Was it also that -- well, first,
19   seeing you work with Derek, Terry, Bruce, Andrew        19   when Mr. Marshall joined the Facilities group his
20   and developing them for advancement within BNSF."       20   job was going to change significantly; is that
21     Q. Okay. Now, Joe Marshall was a part of              21   fair to say?
22   your group at that point, wasn't he?                    22     A. When he first came, no, it would be the
23     A. Yes.                                               23   same.
24     Q. So can you explain to me why Joe Marshall          24     Q. Okay.
25   wasn't included among the list of names there?          25     A. When he first came. It was after the

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 12 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 41                                                    Page 43

 1   fact we were going through what happens if Joe         1   doing that.
 2   decides to leave the company, where does it leave      2     Q. Did they -- were you told why you weren't
 3   the company? As managers we have to plan for           3   going to do it that way?
 4   five, ten, fifteen, twenty years down the road.        4     A. It didn't fit the model that BNSF wanted
 5     Q. Okay. And at that time were you planning          5   to move forward with.
 6   for any other employees in the Facilities group to     6     Q. Tell me what the model was that BNSF
 7   leave?                                                 7   wanted to move forward with.
 8     A. I was planning how Derek was going -- if          8     A. Model is exempt employees, if they want
 9   he was going to leave and move on to a new role,       9   to advance their career, somebody else coming in
10   how was he going to do that? I was using Bruce        10   can learn that role pretty quickly and be in that
11   Stuff as being the model, how we set up all his       11   role and support the transportation of goods and
12   projects so if somebody came in they knew exactly     12   services -- goods across our system for a profit,
13   where to find all of his projects, all the            13   until they transition to a new role.
14   documents for those projects, so, yes, I was          14     Q. Okay. And so when you were asking for
15   trying to transition Derek into that, Terry into      15   somebody to work along with Joe Marshall to learn
16   that.                                                 16   about what he did with the scales, it was your --
17     Q. So why not just let Joe Marshall continue        17   well, what you envisioned is it would take three
18   to do the job that he had been doing for a number     18   to five years?
19   of years?                                             19     A. A normal apprenticeship program is, you
20     A. At the end when he wanted to leave, the          20   know, three to five years, depending upon what
21   BNSF would have been there without support for an     21   discipline.
22   integral part of our system, which is our scales,     22     Q. So when do you think you asked Dwayne
23   and without support of them they will not be able     23   Curbow for somebody to work as -- I'm going to use
24   to function going off into the future.                24   your word, I know it's not a full apprentice
25     Q. Okay. But then why not have somebody             25   program, but pseudo apprentice?

                                                 Page 42                                                    Page 44

 1   assigned to work with Mr. Marshall to learn his        1     A. 2016, 2015, somewhere in there.
 2   position so that he could continue doing his job?      2     Q. But it was before you heard that Joe
 3      A. We asked that question. We were told             3   Marshall was going to retire or going to the
 4   that was not an option. We needed to find where        4   craft, right?
 5   we were going to take that institutional knowledge     5     A. Absolutely.
 6   and hire it on the outside, just like we do with a     6     Q. Okay. So at that point is it fair to say
 7   lot of the institutional knowledge for fueling,        7   that, you know, you envisioned that Mr. Marshall
 8   lot of the institutional knowledge for some of our     8   was going to stick around for another three to
 9   building structures. We don't have architects, we      9   five years?
10   hire architects.                                      10     A. I was hoping.
11      Q. Okay. Who did you talk to about having          11     Q. Did you ever tell Mr. Marshall that?
12   somebody work with Mr. Marshall to learn the job      12     A. I told him, I says "This is going to take
13   of scales?                                            13   awhile. I want you to work here as long as you
14      A. Dwayne Curbow.                                  14   want to work here, but," I says, "we need to have
15      Q. Okay. And was it Dwayne Curbow that said        15   you here to help transition. You're a key part of
16   it couldn't be done or did he talk to someone         16   transitioning this. You have a lot of tribal
17   else?                                                 17   knowledge that nobody else has here at BNSF."
18      A. He got back to me and told me that we           18     Q. Okay. I want to look back at this Page
19   were doing that.                                      19   6. Under that Appraisal by Dwayne Curbow, the
20      Q. Did he tell you why?                            20   second paragraph, it starts out with "Joe..."
21      A. Well, my question was to bring somebody         21     A. Yep.
22   on to put with Joe because I said it was going to     22     Q. It says "Joe, I do like the way you lead
23   take three to five years for them to learn what       23   your employees and feel you will be successful in
24   Joe knows at a minimum, it's like an                  24   coaching Joe Marshall to become a valued part to
25   apprenticeship program, and I was told no, not        25   the Facilities team." Did I read that right?

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                                                                      Exhibit B
       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 13 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                 Page 45                                                     Page 47

 1     A. Yeah.                                             1     Q. Did you discuss that comment with Dwayne
 2     Q. Okay. So is it fair to say that at least          2   Curbow?
 3   as of January 22nd, 2016, that you hadn't heard        3     A. We probably did but I don't recall the
 4   anything about Joe Marshall planning to return to      4   specifics of it.
 5   the craft, retire, leave BNSF; is that fair to         5     Q. Do you recall why Joe Marshall's name was
 6   say?                                                   6   left out of that group?
 7     A. I would -- yes.                                   7     A. I do not know.
 8     Q. Okay. Now I want to look at Page 7 of 8.          8     Q. Do you believe it was because Dwayne
 9     A. (Witness Complies).                               9   Curbow had a plan to transition Mr. Marshall out
10     Q. Underneath Appraisal by Dwayne R. Curbow,        10   of the Facilities group?
11   right in the middle, do you see that?                 11     A. I do not know that.
12     A. I see it, yeah.                                  12     Q. Okay. Do you recall ever telling anyone
13     Q. And the first comment says "Joe, it's            13   that you believed that Joe Marshall fits all the
14   going to be a new railroad for you moving forward,    14   descriptors of someone with workplace violence?
15   so enjoy." What did that mean?                        15     A. I told that to Dwayne Curbow.
16     A. It means that -- I was transitioning from        16     Q. Okay. When did you tell that to Dwayne
17   Allouez -- remember, this is my 2015 appraisal. I     17   Curbow?
18   was transitioning from Allouez, which is northern     18     A. I believe after the day when Joe blew up
19   Wisconsin and a self-contained facility, to being     19   at me and told me that I'm fucking with him.
20   on the system.                                        20     Q. Okay. And --
21     Q. Okay. Let me ask this, because --                21     A. I believe. I don't remember if it was
22     A. That's how I took it.                            22   that -- exactly that day but it was something like
23     Q. Okay. Is -- it says Allouez?                     23   that.
24     A. Allouez.                                         24     Q. Did Joe Marshall ever threaten you?
25     Q. I'll be honest, I wasn't sure how to             25     A. No.

                                                 Page 46                                                     Page 48

 1   pronounce it so I wasn't going to.                     1      Q. Okay. So why did you believe or start
 2      A. Okay.                                            2   beginning to think about workplace violence when
 3      Q. But it seemed -- just in reading through         3   it comes to Mr. Marshall?
 4   documents it seemed like it was quite a bit            4      A. We had an incident that occurred on our
 5   different job or environment, or maybe both, that      5   system with -- where we had an event of workplace
 6   you had in Allouez than you were going to have at      6   violence and we were asked to assess what was
 7   Kansas City?                                           7   going on in our environment to ensure that we were
 8      A. Correct.                                         8   taking all the precautions and looking at and
 9      Q. Because it seems like I read that there          9   discussing workplace violence in particular, if
10   were labor issues?                                    10   somebody was -- had the potential to become
11      A. Yes.                                            11   violent.
12      Q. Things like that that were somewhat             12      Q. Okay. Did you report any other employees
13   troublesome or difficult to deal with?                13   other than Mr. Marshall as people that you
14      A. Yes.                                            14   believed could become violent?
15      Q. And so you think part of -- when he said        15      A. At this location, no. At the Allouez
16   it would be a new railroad, almost kind of like a     16   Taconite facility, yes.
17   fresh start because it was going to be a different    17      Q. Okay. Tell me specifically what Joe
18   situation?                                            18   Marshall did that caused you to believe that he
19      A. Every new job you take is a new fresh           19   might be capable of workplace violence.
20   start. I mean...                                      20      A. He became very agitated in the context of
21      Q. Okay. And then the second line from the         21   a performance process, become agitated during the
22   bottom in the middle, it says "I really look          22   context of a business discussion on something that
23   forward to your leadership with Derek, Terry,         23   was just business related, moving his job from one
24   Andrew and Bruce." Do you see that?                   24   point to the next point or something we wanted him
25      A. Yes.                                            25   to do.

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 14 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                Page 49                                                    Page 51

 1     Q. Okay. Explain agitated to me. What did           1   my ledger and just scanned all the notes that had
 2   you mean by that?                                     2   Joe Marshall in them, but, yeah.
 3     A. Raising his voice, cussing and swearing,         3     Q. So that was on Wednesday when you gave
 4   becoming very demonstrative.                          4   them to them?
 5     Q. Okay. Other than Mr. Marshall saying             5             MR. VOGEL: The notes -- just to be
 6   that he thought you were fucking with him what        6   clear, if it's okay, the notes that we're
 7   other inappropriate language did Joe Marshall use?    7   discussing have been produced.
 8     A. I don't recall. I'd have to think hard.          8             MR. McKEE: And I thought they were.
 9     Q. Okay. When did you find out you were             9             THE WITNESS: Yeah, I was going to
10   going to be deposed in this case?                    10   say...
11     A. I got an e-mail two months ago, three           11             MR. McKEE: Let's go off the record
12   months ago. I don't remember.                        12   real quick.
13            MR. VOGEL: If I can interject, do           13           (WHEREUPON an off the record
14   not disclose the context of any of those. The        14          discussion was had, after which
15   dates are fine, but --                               15           the following:)
16     Q. And the questions that I ask you, I'm not       16     Q. So when you looked through those
17   intending to ask you what attorneys -- what you      17   documents is it fair -- let me start that over.
18   communicated -- the content of your communication    18   So you got contacted two to three months ago about
19   to or from your attorneys. I may want to know        19   a lawsuit that had been filed and that we were
20   those answers but I don't -- I'm not intentionally   20   seeking to take your deposition. I would assume
21   intending to ask you that.                           21   at that point did you start thinking about what
22     A. Okay.                                           22   had happened with Joe Marshall in 2015, 2016?
23     Q. I'll try to stay away, but it's                 23     A. No.
24   inevitable I'll ask you what people did you talk     24     Q. Okay. Why not?
25   to and one of those would be your lawyer, right,     25     A. Because I've got too much other stuff to

                                                Page 50                                                    Page 52

 1   so I just want to make clear, I'm not asking you      1   do.
 2   for those conversations. I'm going to ask you         2     Q. Okay. When you were looking through
 3   like, you know, do you recall how many times you      3   documents preparing for your deposition did you
 4   talked with the attorneys for BNSF about the          4   find any other examples of Joe Marshall cussing or
 5   matter involving Joe Marshall?                        5   using inappropriate language towards you?
 6     A. Two, maybe three times. Might have been          6     A. I don't recall. There might be.
 7   two phone calls and one face to face.                 7     Q. Okay. But as you sit here today the only
 8     Q. Okay. Did you meet with BNSF attorneys           8   inappropriate language you recall Joe Marshall
 9   this week to prepare?                                 9   making was in a statement, something along the
10     A. Yes, we had.                                    10   lines of "You're fucking with me"?
11     Q. Okay. Approximately how long did you            11     A. Yeah.
12   meet?                                                12     Q. Okay. And when you say demonstrative,
13     A. Two and-a-half hours.                           13   what do you mean by that?
14     Q. Okay, that's fair. Did you look at some         14     A. Becoming very loud, physically -- either
15   documents?                                           15   standing up or coming across on the table or
16     A. We did.                                         16   sometimes pounding -- hitting his fists on the
17     Q. Do you recall what documents you looked         17   table.
18   at?                                                  18     Q. Okay. How long did that meeting last?
19     A. Looked at documents, notes I'd taken,           19     A. It was on multiple occasions that
20   handwritten notes, looked at some documents of --    20   occurred, it wasn't just in one.
21   some H.R. documents, PIP, PMP for Joe Marshall.      21     Q. Okay. So can you tell me anybody else
22     Q. Okay. And those handwritten notes that          22   that you believe witnessed this behavior from Joe
23   you had taken, had you given those to BNSF or        23   Marshall?
24   BNSF's attorneys before that meeting on Wednesday?   24     A. I can't answer who all witnessed it.
25     A. I believe they scanned them. They took          25     Q. Well, when you had -- when you had

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 15 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 53                                                    Page 55

 1   somebody in your office that you believed was          1     Q. So conversations like that; is that fair?
 2   capable of workplace violence and he was getting       2     A. Yeah, yeah.
 3   agitated, did you call somebody into your office?      3     Q. Okay. But is it also fair to say that,
 4     A. No.                                               4   you know, because -- I think you said it, but you
 5     Q. Why not?                                          5   didn't ever feel threatened by Joe Marshall, did
 6     A. I wasn't that threatened. It was just             6   you?
 7   that we were asked if we thought anybody we worked     7     A. No.
 8   with was capable of workplace violence.                8     Q. Okay. I will -- I mean, it does sound
 9     Q. Okay. Do you recall having a meeting              9   like -- is it fair to say that it seemed like
10   with Mr. Marshall in which you had Derek Brown sit    10   neither you nor Joe Marshall cared for the other?
11   in so he could be a witness?                          11   You guys didn't get along very well or see eye to
12     A. I had Derek Brown sit in as a learning           12   eye; is that fair?
13   experience, yes.                                      13     A. I think we had a difference of opinion on
14     Q. As well as to be a witness?                      14   where the roles of his job were going to go. On a
15     A. To witness the process, yeah.                    15   personal level, we had some casual conversations
16     Q. And are you aware that Derek Brown was           16   that were cordial.
17   asked by Human Resources as to how Joe Marshall       17     Q. Okay.
18   behaved during that meeting?                          18     A. I considered it business.
19     A. I was not aware of that.                         19     Q. Okay. I understand because sometimes in
20     Q. Do you recall that meeting in which Derek        20   business we have to make decisions that we might
21   Brown sat in on?                                      21   prefer not to make. I want to take a look at what
22     A. I recall the context of it, yeah.                22   I'm going to mark as Exhibit 26. Are you doing
23     Q. Do you believe that Mr. Marshall                 23   okay or do you need a break? That's something I
24   displayed any of these behaviors as being             24   didn't tell you. If you need a break, tell me.
25   agitated, cussing or swearing or being                25     A. I'm good.

                                                 Page 54                                                    Page 56

 1   demonstrative in the meeting with Derek Brown?         1          (WHEREUPON Buelt Deposition
 2      A. I believe so.                                    2          Exhibit No. 26 was marked for
 3      Q. Now, when you were talking to Mr.                3          identification by the Reporter.)
 4   Marshall during these meetings and you believe he      4      Q. I'm going to hand you what's been marked
 5   was getting agitated, did you ever ask him to          5   as Exhibit No. 26. Exhibit No. 26 is a document,
 6   leave?                                                 6   it says "Statement of Joe Buelt, Manager
 7      A. I don't remember.                                7   Engineering Facilities," dated April 15, 2016; is
 8      Q. Do you recall in prior evaluations or            8   that right?
 9   discussions you had with a supervisor or manager       9      A. Yep.
10   in Allouez being told that your physical stature      10      Q. At the bottom it says "BNSF-MARSHALL
11   could be used for and against you?                    11   001357"; do you see that?
12      A. Yes.                                            12      A. Yep.
13      Q. Tell me about those discussions.                13      Q. And the last page, it ends in 001361?
14      A. I'm six foot four, three hundred pounds.        14      A. 1361, yes.
15      Q. Okay.                                           15      Q. Now, did you look at this document in
16      A. That can be intimidating, it can be             16   preparing for today?
17   imposing. It could be used as saying "Well, I         17      A. I don't remember.
18   don't want to talk to him because --" so I have to    18      Q. Okay. Well, go ahead and take a minute
19   watch what I say too, you know.                       19   to look at it. The reason I'm asking you is
20      Q. And I agree. Even in casual                     20   because I don't know if you read through it
21   conversations and so on, I mean, the way we say       21   previously to remember it or not, so why don't you
22   it, if there's somebody that's in front of me         22   just take the time you need to review it and let
23   that's six foot five, human nature is I may not       23   me know when you're done.
24   run my mouth the same way.                            24      A. (Witness Complies). Okay, I'm sorry.
25      A. Yeah.                                           25      Q. Okay, thank you. You've had an

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 16 of 43
Ervin J. Marshall v.                                                                                     Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                                May 31, 2019
                                                   Page 57                                                    Page 59

 1   opportunity to read through Exhibit No. 26?              1      A. Yeah.
 2     A. I looked through it, yes.                           2      Q. So are you saying that Joe Marshall
 3     Q. And is that your signature on the bottom            3   brought that up?
 4   of each page?                                            4      A. I may have thought that then but --
 5     A. Yes.                                                5      Q. But you believe now you brought it up?
 6     Q. Okay. Do you recall who drafted this                6      A. Could have been Joe and I repeated it.
 7   document? Did you?                                       7   It's awhile back.
 8     A. I did not draft this document. I don't              8      Q. Okay. Can you tell me why you said Joe
 9   know who drafted this document.                          9   Marshall plans to retire in September or October?
10     Q. You think it was somebody in H.R.?                 10      A. Uh-huh.
11     A. I think so.                                        11      Q. Why did you believe that Mr. Marshall
12     Q. Okay. Now, the first question, "Did you            12   planned to retire in September or October on April
13   ever tell Mr. Marshall that he needed to structure      13   15, 2016?
14   his job so a twenty-four year old new hire could        14      A. What page are we on here?
15   do it?" And you said "Absolutely not."                  15      Q. Still that first paragraph on Page 1.
16     A. Yep.                                               16      A. Oh, I took it as, you know, him telling
17     Q. But you agree that you made a comment              17   me leave him alone, "I plan on retiring." That's
18   that he should structure it so that a college grad      18   how I took it.
19   could do it?                                            19      Q. Let's look at -- I'm going to read the
20     A. Yeah, college kid, yeah.                           20   entire sentence to you. "Joe Marshall plans to
21     Q. Why didn't you tell Human Resources that           21   retire in September or October and I've told him
22   you made that comment?                                  22   that I need to have an understanding of what his
23     A. Why didn't I tell them I made that                 23   job does so when he retires someone can back fill
24   comment?                                                24   for him. He told me that the first day I met
25     Q. Yeah. The one --                                   25   him." Did I read that correctly?

                                                   Page 58                                                    Page 60

 1     A. College kid?                                        1     A. Yeah, I remembered it at that time. I
 2     Q. Yeah.                                               2   don't recall it today, saying that.
 3     A. Why did I tell them that?                           3     Q. You don't recall you saying it or you
 4     Q. No, why didn't you?                                 4   don't recall Joe saying it?
 5     A. I'm trying to understand your question.             5     A. I don't recall him saying it, I don't
 6     Q. Okay. When I'd asked you earlier about              6   recall me saying it. A lot of things have
 7   somebody in their twenties and you said, you know,       7   happened since '16. That's three plus years ago.
 8   you told him to structure it so a college kid            8     Q. Yeah, I understand that. But earlier I'd
 9   could do it, I'm just wondering why in April of          9   asked you how you learned or when you learned that
10   2016 when you were asked a similar question why         10   Joe -- that Joe Marshall was planning to retire
11   you didn't tell the person that you had made the        11   and you said you hadn't, you just found out that
12   comment about a college kid.                            12   he was going back to the craft.
13     A. The question was if a twenty-four year             13     A. Well, that's what he told me he was going
14   old could do it. I said a college kid.                  14   to do. I asked him do he plan to retire when he
15     Q. Right. But what I'm asking is why didn't           15   told me that and he says it was none of my
16   you tell Human Resources -- you had made the            16   business, so okay.
17   comment that it wasn't a twenty-four year old.          17     Q. So are you saying that you had that
18   Why didn't you tell Human Resources that you said       18   conversation with Mr. Marshall that first day that
19   "No, I didn't say that. I said structure it so a        19   he started for you?
20   college kid could do it"?                               20     A. No, had it when he turned in his notice
21     A. Yeah.                                              21   that he was going back to the craft.
22     Q. Why didn't you tell H.R. that?                     22     Q. Okay. So explain this statement here.
23     A. Isn't that my answer?                              23     A. Statement that Joe Marshall plans to
24     Q. Okay. You say "He is the one that                  24   retire in September, October? Joe may have told
25   brought up that a college kid can do his job."          25   me that.

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 17 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 61                                                    Page 63

 1      Q. Is it possible somebody else told you            1   don't remember when.
 2   that Joe Marshall --                                   2      Q. Did you do that in writing or verbally?
 3      A. Could be somebody else told me that, but         3      A. I prepared a formal review for H.R. to
 4   I don't recall exactly why I would have thought        4   review his job duties.
 5   that in April of 2016.                                 5      Q. Okay. And when you prepared for a
 6      Q. What I want to understand -- and I               6   deposition did you see those documents again?
 7   realize it's been several years ago, but this          7      A. I didn't.
 8   statement is extremely different than how you've       8      Q. All right. Is it possible that Dwayne
 9   testified today, right? So it's possible that          9   Curbow told you that Joe Marshall was intending to
10   somebody other than Joe Marshall may have said        10   retire in September or October of 2016?
11   that he planned to retire in September or October?    11      A. I don't recall a conversation with Dwayne
12      A. I don't know where I got that in 2016.          12   on that.
13   It was closer to when I first met him. It was         13      Q. Is it possible that nobody told you that?
14   closer to when these events were happening.           14      A. Somebody probably would have told me
15      Q. When did you first meet Joe Marshall? It        15   that, I wouldn't have just pulled that out of the
16   would have been sometime in June of 2015, wouldn't    16   air.
17   it?                                                   17      Q. Let me ask, is there kind of -- or does
18      A. Correct.                                        18   it happen frequently that once somebody's got
19      Q. And the first conversation that you had         19   thirty years in and they reach the age of sixty
20   with Mr. Marshall about his job would have been       20   and they're eligible to retire, do they typically
21   sometime in June of 2015?                             21   retire?
22      A. Yes.                                            22      A. I have seen very few railroaders work
23      Q. Okay. So do you have any notes, e-mails,        23   past that date, yes.
24   documents, anything in which you made a note of       24      Q. Okay.
25   the first meeting you had with Mr. Marshall where     25      A. But there have been quite a few that

                                                 Page 62                                                    Page 64

 1   he told you that he planned to retire in September     1   have, and I've had some that worked for me that
 2   or October?                                            2   worked past that date.
 3      A. All the notes I have I turned over and I         3      Q. Okay. Now, earlier you'd said at some
 4   didn't see anything in the review of those.            4   point in 2016 you wanted to set up somebody that
 5      Q. Okay. And at this point, on April 15,            5   would be somewhat of an apprentice to Joe Marshall
 6   2016, who did you intend to back fill the position     6   and you thought that that was going to take three
 7   for Joe Marshall?                                      7   to five years.
 8      A. I didn't have a definite plan. I had an          8      A. Uh-huh.
 9   idea of what we would do if Joe left.                  9      Q. Explain that to me, when you have this
10      Q. And was that that Andrew Bartell would          10   statement that you signed in which you claim that
11   back fill Joe Marshall's position?                    11   Joe Marshall told you he was going to retire
12      A. He would take on the role of managing the       12   sometime in September or October.
13   program but it would be a consultant/contractor.      13      A. That discussion happened late 2015, early
14      Q. Okay. When did you go to -- well, first,        14   2016, about the apprenticeship process. I don't
15   at some point did you work with Andrew Bartell to     15   know if Joe told me again at a different time that
16   try to get him paid more money to do some of Joe      16   he was planning to work longer.
17   Marshall's job duties?                                17      Q. Okay. Well, I realize we're kicking a
18      A. I floated the idea of changing it but it        18   dead horse here but I want to talk about it a
19   didn't have anything to do with the scale process.    19   little bit more. Again, your statement says "He
20   It had to do with what Andrew was doing that I        20   told me that first day I met him." So that
21   thought it should be a different salary band. I       21   conversation would have occurred before you tried
22   was told no.                                          22   to set up this apprenticeship program?
23      Q. Okay. Approximately when did that               23      A. He may have told me that he was planning
24   happen?                                               24   to retire in 2016, September, October.
25      A. I don't -- well, it was 2016 sometime. I        25      Q. Okay. So how was that apprenticeship

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 18 of 43
Ervin J. Marshall v.                                                                                     Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                                May 31, 2019
                                                 Page 65                                                     Page 67

 1   program that was going to last three to five years     1    Q. So it appears that you learned Mr.
 2   going to work if Joe Marshall had already told you     2   Marshall had a company truck so you went to Dwayne
 3   he was going to retire within a year or so?            3   Curbow about it?
 4      A. I was hoping that Joe would stay around          4      A. Uh-huh.
 5   to fill that process, but, again, it was just a        5      Q. Yes?
 6   floated idea that lasted maybe a day or two and        6      A. Then he drug me into Mr. Rasmussen, which
 7   then it was shot down that we're not doing that.       7   I just remembered when I was reading this. I
 8      Q. Okay. Do you recall ever telling anyone          8   forgot about that process.
 9   that you hoped Joe would stay on after he reached      9      Q. Tell me about what you recall about that.
10   the age of sixty?                                     10      A. Well, we were in Fort Worth and Dwayne
11      A. I was hoping that he would stay on long         11   found out that Craig Rasmussen was in his office.
12   enough to set up the new process that we were         12   He said "Let's go talk to Craig about it," so we
13   going to end up being, because he took all that       13   went in and Dwayne had me tell Craig about Joe
14   tribal knowledge with him.                            14   having a company truck and asked Craig should he
15      Q. Right. And earlier I believe you                15   have a company truck.
16   testified you thought that would take tree to five    16      Q. Now, did you have a company vehicle?
17   years?                                                17      A. No, not in this role. I had one when I
18      A. No, no, that's the apprenticeship               18   was in Allouez, but not in this role.
19   program.                                              19      Q. All right. So do you recall what Craig
20      Q. Okay.                                           20   Rasmussen said?
21      A. The process of transferring that to             21      A. He said we need to take the truck away
22   somebody who already understood scales, a             22   from Joe and give it to Mike Herzog.
23   contractor, I don't know how long that would take.    23      Q. What was Mike Herzog's position?
24   I didn't have the definite time of it.                24      A. Mike Herzog is a Director of Heavy Bridge
25      Q. Now, why did you have to make this              25   or Director of Bridge/Heavy. I don't know what

                                                 Page 66                                                     Page 68

 1   statement in April of 2016?                            1   his title is.
 2     A. I don't recall. I don't know why.                 2     Q. Who was it that told Mr. Marshall that he
 3     Q. Okay. Do you recall if Joe Marshall had           3   was going to lose his company truck?
 4   made a complaint that he believed you were             4     A. I was not there. Dwayne took care of
 5   treating him inappropriately?                          5   that.
 6     A. I do recall the H.R. Department said that         6     Q. Okay. Now, if you were hoping that Joe
 7   Dwayne and I were treating him inappropriately.        7   Marshall was going to stick around for another
 8     Q. Okay. What do you recall H.R. Department          8   three to five years why did you care if he had a
 9   telling you?                                           9   company truck?
10     A. That he had claimed that we had                  10     A. I personally? Didn't matter to me, just
11   discriminated against him because of his age. I       11   that it's outside of the norm, it's outside of a
12   believe that's what it was.                           12   policy for somebody who's a system person to have
13     Q. Okay. Now, we can agree that -- well,            13   a company vehicle. Other system people -- we
14   first, when do you believe that you had a good        14   don't have company vehicles. Our job is the
15   understanding of what it was that Joe Marshall did    15   system. People that are assigned to a territory
16   for the company?                                      16   have a company vehicle and take care of that
17     A. I didn't say I did.                              17   territory.
18     Q. Did you ever?                                    18     Q. Did you talk to any of Mr. Marshall's
19     A. I don't to this day.                             19   prior supervisors about why he had a company
20     Q. Okay.                                            20   truck?
21     A. I don't understand everything about a            21     A. One of the discussions I had with Madlyn
22   scale, no.                                            22   asked about that, yeah.
23     Q. Okay. And if we go down a little bit             23     Q. And why did Madlyn tell you about why Mr.
24   further, talks about the company car.                 24   Marshall had a company truck?
25     A. Yes.                                             25     A. He came with it when he took the job.

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 19 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                Page 69                                                    Page 71

 1   She never thought anything of it.                     1   office.
 2     Q. Okay. And so do you have -- did you have         2     Q. Okay. Now, have you read the rest of
 3   an understanding of how long Mr. Marshall had that    3   this paragraph?
 4   company truck at that point?                          4     A. I'll scan through it right now, yeah.
 5     A. I don't know when he first got it, no.           5     Q. Okay. Are you done reading?
 6     Q. Okay. But it was a several-years-old             6     A. Yeah.
 7   company truck that he'd been driving for a few        7     Q. Okay. Now, here it talks about Derek
 8   years; is that fair to say?                           8   Brown.
 9     A. It was past its prime.                           9     A. Yeah.
10     Q. Okay. Did anybody in the Facilities             10     Q. And this is the meeting in which you had
11   group complain to you or Dwayne Curbow that Joe      11   Derek Brown go in with you to be an observer with
12   Marshall had a company truck?                        12   Joe Marshall, right?
13     A. Nobody complained to me personally. I           13     A. Yep, yes.
14   can't answer for Dwayne.                             14     Q. Now, why -- in the middle of this
15     Q. Okay.                                           15   paragraph -- just starts "Joe Marshall fits all
16     A. I don't recall anybody complaining.             16   the descriptors of someone with workplace violence
17   Obviously --                                         17   because he can't handle change or confrontation or
18     Q. Did you ever hear that anybody complained       18   when people ask him to explain himself."
19   that Joe Marshall had a company truck?               19     A. I believe at this time we were being
20     A. I don't recall anybody complaining.             20   asked that if you have somebody who has those
21     Q. Okay. Now, then it goes on and talks            21   descriptors -- because we had just had in 2015,
22   about a trip Joe Marshall took to Pasco.             22   late 2015, an incident of workplace violence that
23     A. Yes.                                            23   resulted in a death, that as a manager you were
24     Q. So tell me about that. What was it that         24   asked to have somebody come with you so that you
25   you were unhappy about?                              25   could diffuse any situation that might lead to an

                                                Page 70                                                    Page 72

 1     A. I wasn't unhappy about it, it was just           1   escalation.
 2   out of the norm for us to do a four-day trip --       2     Q. Okay. So you said something about
 3   out of the norm to take a four-day trip to Pasco      3   reporting if you had any employees that you
 4   for a one-day visit. That's just...                   4   thought fit that description. Do you recall if
 5     Q. Now, would Joe also deal with people that        5   you reported --
 6   worked for other companies?                           6     A. We didn't -- we're not asked to report
 7     A. He would work with the scale consultant,         7   that. That's not what I said.
 8   System Associates, SAI, maybe Rail Scale, but our     8     Q. Okay. Explain that to me then.
 9   dealings with them -- I don't know what our           9     A. We were asked if we had -- Dwayne asked
10   dealings with them were. Very minimal now.           10   me if I had somebody who might fit that role and I
11     Q. Did you know at that time if Mr. Marshall       11   told that to Dwayne.
12   as part of his job was also managing the             12     Q. Okay. Did you tell anybody other than
13   relationships that he had with these contractors     13   Dwayne Wright?
14   and so on?                                           14     A. I don't recall if I did or not.
15     A. The contractors were there for the day          15     Q. Okay. Do you recall when you told Dwayne
16   that he was supposed to be there and they were       16   Wright -- sorry, I'm getting my plaintiffs mixed
17   going to leave the same --                           17   up. Do you recall when you told Dwayne Curbow
18     Q. Okay. How do you know that?                     18   that Joe Marshall fit the -- fit that description?
19     A. I think Joe told me that. They were             19     A. It was when our Safety Department put out
20   there for a scale test.                              20   a notice about an incident of workplace violence.
21     Q. Now, for Mr. Marshall to perform his job,       21     Q. So you think it would have been in 2015?
22   did he have to be in the office to do it?            22     A. Early 2016, late 2015.
23     A. Did Joe need to be in the office to             23     Q. Okay. So why is it that you included it
24   perform his job? We have normal office hours, if     24   within this statement, in this statement of 2016
25   he's not in the field he needs to be in the          25   to Human Resources?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 20 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                  Page 73                                                    Page 75

 1     A. I believe that's the reason why I brought          1   "When he turns in his expense I've had to coach
 2   Derek with me, to give him some experience of           2   him on some of his reports." Do you see that?
 3   understanding and also for what we were being           3     A. Yep.
 4   asked to do --                                          4     Q. Do you ever recall documenting in writing
 5     Q. Okay.                                              5   that you had to coach Joe Marshall with any of his
 6     A. -- as managers.                                    6   expense reports?
 7     Q. Now, let's look down at the bottom, and            7     A. No, I don't recall putting it in writing
 8   there's an issue about going to a restaurant and        8   to him. I don't think it ever escalated to that
 9   Joe purportedly said he told the consultant that        9   level where I thought I needed to.
10   he was buying. Do you recall that?                     10     Q. Okay. Now, this PMP, the next paragraph,
11     A. Yeah.                                             11   do you see that?
12     Q. Why did you feel it was necessary to              12     A. Yeah.
13   record something like that to Human Resources?         13     Q. Says that he got an NI on Leadership.
14     A. It's just not -- well, I don't know of            14   What's NI mean?
15   the context why they asked me this question, but I     15     A. Needs improvement.
16   don't think I reported it to Human Resources until     16     Q. Okay. Now, do you remember why you gave
17   this -- they asked me about it, but the process is     17   Joe Needs Improvement on leadership?
18   when we go traveling and we're there with a            18     A. He needed to begin to accept the change
19   consultant, you don't tell the consultant that         19   process and not be demonstrative, obstinate, hard
20   they got to buy dinner. If the consultant picks        20   to deal with in the process.
21   up the tab, the consultant picks up the tab.           21     Q. Okay. Do you recall any documents where
22     Q. Do you know if the consultant was                 22   you said those things about Joe Marshall? Let me
23   somebody that Joe Marshall knew?                       23   ask it differently. In performance reviews of Mr.
24     A. Probably, probably SAI. Probably, I               24   Marshall did you include those comments?
25   don't know that for sure, but...                       25     A. I did not.

                                                  Page 74                                                    Page 76

 1      Q. Is it likely that Joe Marshall had some           1     Q. Okay. Why not?
 2   kind of a relationship with the consultant and,         2     A. I wanted Joe to have the opportunity at
 3   you know, they knew each other?                         3   the midyear PMP, which this was put on, to improve
 4      A. I'm sure he did.                                  4   so that the year end PMP he could have On Target
 5      Q. Okay. So couldn't have just said                  5   or Exceeds, but I needed him to understand that
 6   jokingly, "Hey, we're going to dinner, you're           6   this was something he needed to address.
 7   buying"?                                                7     Q. Okay. But if it wasn't included in his
 8      A. Could have been.                                  8   midyear PMP --
 9      Q. Okay.                                             9     A. His year end PMP, I'm sorry. This was on
10      A. I just wanted to caution him. We were            10   his year end PMP.
11   also going through a process where we had multiple     11     Q. I'm going to flip back to the first page
12   people on the railroad who got in trouble for          12   again. We talked about the workplace violence and
13   forcing consultants and contractors to do stuff        13   the restaurant issue, and that was when you were
14   and they lost their positions over that.               14   asked the question "Did you speak with Mr.
15      Q. Okay. So did you tell Joe Marshall that          15   Marshall about a travel issue he had in December?"
16   you thought that was inappropriate or did you just     16   What did Joe Marshall fitting the description with
17   tell Human Resources?                                  17   someone with workplace violence have to do with
18      A. I don't recall if I told Joe. I believe          18   the travel issue that Mr. Marshall had in
19   I told Joe.                                            19   December?
20      Q. Do you recall preparing for your                 20     A. It was a reason why I took Mr. Brown with
21   deposition today seeing any documents indicating       21   me for this discussion. It was an explanation of
22   that you told Joe Marshall about this situation?       22   why I took Derek with me.
23      A. I wish I would have saw this document            23     Q. Do you recall approximately when that
24   yesterday. I didn't see it, no.                        24   conversation was you had with Mr. Marshall and Mr.
25      Q. Okay. Then you go on, the next page says         25   Brown?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 21 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 77                                                    Page 79

 1     A. I don't remember the exact date but I             1   taken one of these leadership courses?
 2   thought I wrote a note on it.                          2     A. I had not.
 3     Q. Okay. Now, let's look on the second page          3     Q. Okay. So did you look into Mr.
 4   again. Down four paragraphs down in the italics,       4   Marshall's background, you know, his employee or
 5   "Before put him on an NI did you talk to anyone?"      5   personnel file to see if he had taken any
 6   Do you see that?                                       6   leadership training courses?
 7     A. Yeah.                                             7     A. I went to our H.R. rep, which I don't
 8     Q. And it says you talked to Dwayne "...and          8   remember her name at the time, and asked her if
 9   he told me he talked to Craig." Do you see that?       9   Joe should have went to some leadership course and
10     A. Yes.                                             10   I was told yes.
11     Q. Okay. What did you tell Dwayne?                  11     Q. Did you ask that person if Joe had gone
12     A. I asked Dwayne -- I asked Dwayne if he           12   to any of these leadership courses in the past?
13   approved with me putting Joe with an NI on his        13     A. I asked her to check her record if he had
14   Leadership for the year end of 2015. Needed to        14   attended and she could not find anything.
15   have his approval and Craig's approval.               15     Q. Okay. Now, at that point did you
16     Q. And did they give you the approval?              16   consider that maybe nobody had told Mr. Marshall
17     A. Yes.                                             17   that he was supposed to take some type of
18     Q. Now, do you recall that one of the               18   leadership training course?
19   reasons that you said that you gave Mr. Marshall a    19     A. It may have occurred, but we have all
20   Needs Improvement on Leadership was because he        20   this Approaching Others training going on on the
21   hadn't taken some kind of leadership training         21   system, we have ESLT, Engineering Safety
22   course?                                               22   Leadership Training, People Leader training. Part
23     A. Yes.                                             23   of our role also was to ask as exempt officers
24     Q. Okay. Do you recall Mr. Marshall telling         24   what are my training needs.
25   you that he had not been required to take a           25     Q. I'm curious, if you believed at this time

                                                 Page 78                                                    Page 80

 1   leadership training course in his position in the      1   that Mr. Marshall was going to be retiring in
 2   past?                                                  2   September or October of 2016 why would it matter
 3      A. Yes.                                             3   if he had taken that leadership training or not?
 4      Q. Okay. Now, before you gave him Needs             4      A. I didn't know he was going to retire at
 5   Improvement on Leadership did you ever tell Mr.        5   any time or he was going to leave the company or
 6   Marshall that he needed to take this leadership        6   what he was going to do. I don't know that until
 7   training course?                                       7   he actually does that. He's an employee of the
 8      A. I don't recall if I told him that before         8   company. You need to judge him on what he's doing
 9   that or it was just implied, because we all either     9   against the rules and responsibilities and
10   need to go through ESLT or to Leaders of Leader or    10   policies of the company.
11   People Leader training or Approaching Others          11      Q. Okay. But did you -- before you gave Mr.
12   training.                                             12   Marshall a Needs Improvement on Leadership did you
13      Q. Now, when Mr. Marshall worked for you in        13   go sit down -- I say sit down, stand up, on the
14   the Facilities group he didn't supervise anyone,      14   phone, in any way did you say "Hey, Joe, are you
15   did he?                                               15   aware you're supposed to take a leadership
16      A. No, not that I know of.                         16   training course and it appears that your prior
17      Q. Okay. Now, did you at some point learn          17   supervisors haven't made you do it? We need to
18   that a -- one of Mr. Marshall's supervisors, and      18   get you in that class"?
19   it may have been Madlyn Guarino, tried to get him     19     A. I don't recall having that conversation
20   into a leadership training course and it was full     20   like you just stated.
21   and they said "Well, he doesn't manage anybody so     21     Q. Okay. Tell me, did you have any
22   we're not going to put him in it"?                    22   conversation that was even similar to what I just
23      A. I was not aware of that.                        23   stated?
24      Q. Did you ask Madlyn Guarino or any of his        24     A. I believe I asked him if he went to a
25   other prior supervisors why Mr. Marshall hadn't       25   leadership course.

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 22 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                 Page 81                                                   Page 83

 1     Q. And what did he tell you?                         1     Q. I want to look at this page we were
 2     A. I think he told me he wasn't required to.         2   looking at before we took a break. Midway down it
 3     Q. Okay. And did you say "Well, you know,            3   says "Did you try to get him to provide you with a
 4   Joe, I think you are required to go to a               4   to-do list of his duties?" Do you see that?
 5   leadership course"?                                    5     A. Yes.
 6     A. All exempt officers are required to go to         6     Q. Now, what is a log book?
 7   a leadership course.                                   7     A. A log of what you're doing, list of
 8     Q. Okay. But did you ask him? Because you            8   steps, you know, what you did that day, process of
 9   said that Mr. Marshall said that he wasn't             9   what you do.
10   required to go to a leadership course, so did you     10     Q. Did you ask anyone else in the Facilities
11   say, you know, "Joe, I think you're supposed to"?     11   group to keep a log book?
12   Did you say that to him?                              12     A. In the Facilities group at that time, no.
13     A. I think I told him all exempt officers           13     Q. Okay. Why did you ask Mr. Marshall to
14   are supposed to go to a leadership course.            14   keep a log book?
15     Q. Okay. Then let's look at the next                15     A. Because I wanted to find out what he was
16   paragraph, says "I tried to make him aware that he    16   doing and what his job was.
17   was going to get an NI by giving him hints his        17     Q. Now, didn't you want to know what other
18   people leader skills needed to get better and his     18   people that worked in the Facilities group, what
19   people skills need to get better - you can't yell     19   their jobs were?
20   at me." What does that mean?                          20     A. I had an understanding of what they were.
21     A. By telling him that "You can't yell at me        21            MR. McKEE: We don't have the ones
22   when we're having an interaction." Main reason        22   that were actually marked during the deposition at
23   for the NI was because when I went to react to him    23   this point, but this is the document that was
24   and talk to him he started yelling at me. I'm not     24   previously marked as Exhibit 1. Does that sound
25   going to -- shouldn't have to deal with that.         25   okay? Off the record real quick.

                                                 Page 82                                                   Page 84

 1     Q. Okay.                                             1           (WHEREUPON an off the record
 2     A. We're just talking business.                      2          discussion was had, after which
 3     Q. Okay. But then in that first part it              3           the following:)
 4   says that you were giving him hints. What does         4     Q. Exhibit 1, is that -- does that appear to
 5   that mean?                                             5   be a job description for a scale inspector?
 6     A. By telling him he can't yell at me. You           6     A. Job posting, job description, yes.
 7   need to go to leadership class, you need to have       7     Q. Okay. Do you recall when you first saw
 8   respect for others in your approach to the job.        8   this job description?
 9     Q. Okay. Can you tell me anybody in which            9     A. About, I don't know, five weeks, six
10   you personally witnessed other than you that Mr.      10   weeks after I met Joe up in Minneapolis, I asked
11   Marshall was disrespectful in your opinion?           11   for what his job description was.
12     A. I thought he was disrespectful to some of        12     Q. Okay. And so who did you ask for his --
13   the field employees down in Tulsa. That's what I      13   for Joe Marshall's job description, who did you
14   wrote in here.                                        14   ask to get it?
15     Q. Okay. Can you tell me the name of anyone         15     A. I asked Dwayne and I believe Dwayne gave
16   that ever told you that Mr. Marshall was              16   me a copy of it.
17   disrespectful or inappropriate with them?             17     Q. Okay.
18     A. I don't recall.                                  18     A. I believe, I don't know, because I asked
19     Q. Okay.                                            19   what is his job duties currently, so...
20            MR. VOGEL: Can I get up and get a            20     Q. Okay. Now, so would you have gotten this
21   water?                                                21   job description before or after Mr. Marshall was
22            MR. McKEE: Yeah, let's take a break.         22   transferred into the Facilities group?
23   We've been going a while. Let's take a break.         23     A. After. I just said that.
24          (WHEREUPON a recess was had, after             24     Q. Okay, I'm sorry. How soon after would
25          which the following:)                          25   you have gotten it?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 23 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                 Page 85                                                        Page 87

 1     A. I requested it sometime after he came in          1           MR. VOGEL: Object to the form,
 2   because I was trying to understand what his role       2   misstates prior testimony. You may answer.
 3   and duties were.                                       3    A. The right to do the work is for the craft
 4     Q. Okay. But would it have been in June or           4   employees. Exempt employees, which Mr. Marshall's
 5   July of 2015, you think?                               5   role was exempt here, should not be doing craft
 6     A. Could be, yes.                                    6   employees' work. The craft employees have a
 7     Q. Okay.                                             7   Collective Bargaining Agreement to do that work
 8     A. I don't remember.                                 8   unless we perform what is called a Contract Notice
 9     Q. Now, it says here several times forty to          9   to say that we're going -- to have somebody else
10   sixty percent travel.                                 10   do that work.
11     A. Yeah.                                            11     Q. Okay. Now, let's look back to the first
12     Q. So was Mr. Marshall no longer going to           12   page.
13   travel in the position of scale inspector?            13     A. First page of Exhibit 1?
14     A. No, he was going to travel.                      14     Q. Yes, please. Under Duties, it says
15     Q. Okay. Tell me, how was Mr. Marshall's            15   "Inspect, repair, test and certify railroad
16   job going to change from the description that's       16   scales." Did I read that right?
17   marked as Exhibit 1?                                  17     A. Yes.
18     A. Some of the duties that he was being             18     Q. Okay. That first one, it says at the
19   asked to do here he would not do in the new role,     19   end, "...perform required adjustments and
20   and some of the duties that are here would be         20   repairs." Do you see that?
21   expanded to include more of it, such as coordinate    21     A. Yes.
22   and manage contract scale repairs when work cannot    22     Q. Okay. So can we agree that as part of
23   be performed by BNSF forces, coordinate scale         23   Mr. Marshall's position working with scales that
24   repairs, so things would be expanded beyond that.     24   he was required to do adjustments and repairs to
25     Q. All right. Now, I want to take a look at         25   the scales?

                                                 Page 86                                                        Page 88

 1   the second page.                                       1      A. Could be that it was intended that you're
 2     A. Second page of Exhibit 1?                         2   supposed to get a BMWE employee, have them make
 3     Q. Yeah, Exhibit 1, I'm sorry.                       3   the adjustments and certify that it is adjusted
 4     A. Yeah.                                             4   properly.
 5     Q. Take a look at the second page.                   5      Q. Okay. Let me -- we'll look at the first
 6     A. (Witness Complies).                               6   word of that sentence. It says perform?
 7     Q. "Must have the ability to lift                    7      A. Perform, yes.
 8   seventy-five pounds"; did I read that right?           8      Q. And then -- so to "Perform electronic
 9     A. Yeah.                                             9   diagnostics for solid state components," and then
10     Q. "Must have the ability to climb through          10   it says again "perform required adjustments and
11   and work within very small confined spaces"; did I    11   repairs." So that means that he was actually
12   read that right?                                      12   supposed to do the adjustments and the repairs,
13     A. Yeah.                                            13   right?
14     Q. In looking at this job description it            14            MR. VOGEL: Object to the form,
15   appears that in doing his job Mr. Marshall per the    15   argumentative. You can answer.
16   job description was required to do manual labor,      16      A. That is not how I interpret that.
17   wasn't he?                                            17      Q. Okay.
18     A. If I read his job description that's what        18      A. I was trying to -- when I was telling him
19   I would take it as, but the job was -- I don't        19   he was not to do work, to not do work that was
20   know when this job description was written. I         20   considered to be BMWE'S work or IBEW's work.
21   never seen a date when it was written.                21      Q. So would you say that it would be --
22     Q. Okay. So why would you have been telling         22   would have been more accurate if it would have
23   Mr. Marshall that he wasn't to do any manual          23   said to coordinate required adjustments and
24   labor?                                                24   repairs?
25     A. Because --                                       25      A. I didn't write this, not my

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 24 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                 Page 89                                                    Page 91

 1   responsibility to write this. I didn't give him        1   there anything that he did that you believe listed
 2   this when it was given to him.                         2   in this job description that he needed to improve
 3     Q. But can we agree that an employee should          3   on?
 4   be evaluated based upon the job description?           4     A. The last item says "These general
 5            MR. VOGEL: Object to the form of the          5   categories do not necessarily constitute an
 6   question regarding the term job description. You       6   exhaustive list of duties of the position." Some
 7   can answer.                                            7   of the duties of the position are that you need to
 8     A. Yes.                                              8   accept change, you need to accept when somebody is
 9     Q. All right. So with respect to how Mr.             9   giving you feedback and you need to review how you
10   Marshall performed his position, did he satisfy       10   are articulating back to that person.
11   the requirements in Exhibit No. 1 when he worked      11     Q. Okay. Let me ask you, did you reassign a
12   for you?                                              12   demolition project from Bruce Stuff to Joe
13     A. He satisfied the physical application of         13   Marshall?
14   this, yes.                                            14     A. I reassigned the demolition program to
15     Q. Okay. Is there any -- anything in the            15   Joe Marshall from Bruce Stuff with the intent that
16   job description that we're looking at, Exhibit No.    16   the demolition program is an example of how the
17   1, that Mr. Marshall did not perform up to            17   scale program is going to want to be emulated
18   satisfaction when he worked for you?                  18   after.
19     A. On the job description I do not take             19     Q. Okay. And did you explain that to Mr.
20   exception to anything that Mr. Marshall did to        20   Marshall?
21   satisfy the duties that are there.                    21     A. I explained to him that this was a role
22     Q. Okay. Now, did you talk with Madlyn              22   that I needed him to take along so that he would
23   Guarino about Mr. Marshall's prior evaluations,       23   have, in my opinion, time to deal with it.
24   for example, if he had ever been given any prior      24     Q. Okay. Did you ask Mr. Marshall if he had
25   Needs Improvements?                                   25   the time to deal with it?

                                                 Page 90                                                    Page 92

 1     A. I did not.                                        1     A. I did not.
 2     Q. Did you ever look at any of Mr.                   2     Q. Why not?
 3   Marshall's prior evaluations to determine how he'd     3     A. Because I made the observation that I
 4   performed his job in the past?                         4   felt he had the time. I went to him and I said "I
 5     A. I did not look at his prior evaluations           5   would like for you to take on demolitions."
 6   but I did look at his prior ratings.                   6     Q. And what did Mr. Marshall say to you?
 7     Q. Okay. And how were his prior ratings?             7     A. I don't recall exactly what he said.
 8     A. On Target or Exceeds Target.                      8     Q. Okay. Was he disrespectful to you at
 9     Q. Okay. How many years did you look back            9   that point?
10   at ratings for Mr. Marshall?                          10     A. I don't remember -- recall.
11     A. I don't recall how many years.                   11     Q. Okay. Now, do you recall that you
12     Q. Was it more than one or two?                     12   reassigned the demolition program from Bruce Stuff
13     A. It's whatever is in the system that's            13   to Mr. Marshall because Mr. Stuff said that he had
14   available.                                            14   too much -- too heavy of a workload?
15     Q. Okay. And the first part of 2015 Mr.             15     A. At the time I observed -- I don't think
16   Marshall was still working for Madlyn Guarino,        16   Bruce ever admitted or said that he was overtaxed
17   right?                                                17   but I could observe that he was swimming in it, so
18     A. First part of 2015, still working for            18   to speak, with too much to do at the time.
19   Madlyn, yes.                                          19     Q. Okay. Did you ever look at the scale
20     Q. Okay.                                            20   manual that Mr. Marshall had prepared around 2011?
21     A. She wrote the first half of his PMP, yes.        21     A. I've looked at it. I don't know if I
22     Q. Okay. Can you tell me -- I want you to           22   looked at it then but I've looked at it since
23   look at Exhibit 1 again. Is there anything on         23   multiple times.
24   this job description -- in considering Mr.            24     Q. Now, why wouldn't you have looked at it
25   Marshall's performance when he worked for you, is     25   back in 2015?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 25 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 93                                                     Page 95

 1     A. I may have, I'm just saying I don't              1   the process of completing your planned 2015
 2   recall. I've looked at it multiple times. I           2   projects and unplanned service interruptions."
 3   don't know if I looked at it then for the first       3   Did I read that right?
 4   time or when I looked at it.                          4      A. Yes.
 5     Q. Okay. Do you recall Mr. Marshall                 5      Q. Okay. So you'd agree with me that Madlyn
 6   actually complaining to you in writing and            6   Guarino thought that Mr. Marshall communicated
 7   verbally that he was somehow resistant to change?     7   with people just fine; would you agree with that?
 8     A. To me personally, I don't remember him,          8      A. That's what Madlyn wrote.
 9   no.                                                   9      Q. Okay.
10     Q. Now, would you agree that -- you know, do       10      A. I don't know what her thoughts were.
11   you recall Mr. Marshall complaining that he          11      Q. Did you ever talk to her about the
12   believed that you were being unfair with him? Do     12   evaluation that she had given to Mr. Marshall?
13   you recall that?                                     13      A. I talked to Madlyn before I met with Mr.
14     A. I don't recall a specific event.                14   Marshall about her midyear PMP, which that was
15     Q. Okay. So are you saying that you don't          15   written at, before I met with Joe in Minneapolis
16   recall or just a single event?                       16   whatever date -- June of 2015.
17     A. I don't recall a single event.                  17      Q. Okay. Now, are all the reasons that you
18     Q. Okay. Have you seen what's previously           18   rated Mr. Marshall Needs Improvement in
19   been marked as Exhibit No. 8 before?                 19   Leadership, are all of those reasons listed under
20     A. I see it.                                       20   Appraisal by Joseph Buelt, or are there reasons
21     Q. Have you -- did you see it when you were        21   that you did not include within this appraisal?
22   preparing for your deposition today?                 22      A. What I was rating him on is what I wrote
23     A. I don't know if we looked at this               23   here.
24   document or not.                                     24      Q. Okay. Is there anything as you look at
25     Q. Okay. Tell me, what is Exhibit --               25   it now that you think should have been included

                                                Page 94                                                     Page 96

 1     A. Yes, we did, we did look at it, yes.             1   that you did not include?
 2     Q. What is Exhibit No. 8?                           2     A. No.
 3     A. It's the 2015 Performance and Development        3     Q. Okay. Let's go to the next section.
 4   Review for Ervin J. Marshall, Junior for 2015.        4     A. (Witness Complies). Hard for me to read
 5     Q. Okay. And it looks like it was given to          5   what that is, but go ahead.
 6   Mr. Marshall on January 22nd, 2016; is that fair?     6     Q. Okay.
 7     A. Yes.                                             7           MR. VOGEL: I think for the record we
 8     Q. Okay. Now, let's take a look at                  8   can agree it's under the first Individual Business
 9   Leadership Model Rating at the bottom of the first    9   Objectives, Tulsa Scale Renewal.
10   page. "Manager," says "Needs Improvement."           10     A. Okay.
11     A. Correct.                                        11     Q. And you see that you gave Mr. Marshall a
12     Q. And that's what you gave Mr. Marshall; is       12   Needs Improvement, right?
13   that right?                                          13     A. Uh-huh.
14     A. For Leadership Model, yes.                      14     Q. Yes?
15     Q. Okay. Now, I want you to go ahead -- you        15     A. Yes.
16   don't need to read it out loud, but if you haven't   16     Q. Okay. Now, you would have seen Madlyn
17   read what Madlyn Guarino said, if you wouldn't       17   Guarino's appraisal of Mr. Marshall prior to
18   mind reading that now.                               18   completing your appraisal, correct?
19     A. (Witness Complies). Yes.                        19     A. Correct.
20     Q. Okay. So you had seen the appraisal by          20     Q. Okay. Now, you see at the end she says
21   Madlyn Guarino before you did the appraisal of Mr.   21   "You are an asset to this department"; do you see
22   Marshall, right?                                     22   that?
23     A. Correct.                                        23     A. Yeah.
24     Q. Okay. Now, Ms. Guarino says "You have           24     Q. So what was it that you believed that Mr.
25   done a great job with communicating with others in   25   Marshall needed to do because it says Needs

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 26 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                  Page 97                                                   Page 99

 1   Improvement?                                            1   that's given to somebody at -- when they're
 2     A. I'm reading what I wrote. Kind of what I           2   evaluated?
 3   just said there, what I wrote.                          3     A. I don't know that.
 4     Q. Let me ask you this: In looking at --              4     Q. Okay. Do you recall Mr. Marshall telling
 5   let's first go back to Leadership at the top of         5   you that it was the lowest bonus -- I'm sorry,
 6   the page. Would you agree with me that your             6   that it was the worst review or the worst pay
 7   appraisal and Madlyn Guarino's appraisal of Mr.         7   raise he'd ever gotten?
 8   Marshall are quite different? You guys had              8     A. Yes, I do recall that.
 9   significantly different opinions of Mr. Marshall's      9     Q. Okay. So do you think those Needs
10   job performance?                                       10   Improvements might have had some impact on Mr.
11     A. Madlyn may have been evaluating a                 11   Marshall's pay?
12   different process than I was evaluating. I don't       12            MR. VOGEL: Objection, lack of
13   know exactly what Madlyn was reviewing. I can          13   foundation, calls for an improper opinion. You
14   only attest to what I am seeing and what I have        14   can answer.
15   observed.                                              15     A. I don't believe it had any impact on it.
16     Q. Okay. At the time that you gave Mr.               16     Q. Okay. Now, it's fair to say Mr. Marshall
17   Marshall this evaluation you did not understand        17   was upset about that evaluation and he sent
18   the position that Mr. Marshall worked in scales,       18   several e-mails expressing his unsatisfaction --
19   did you?                                               19   his unhappiness with those e-mails; is that fair
20     A. To this day I don't understand everything         20   to say?
21   about scales, no.                                      21     A. Yes.
22     Q. Okay. And then, you know, down at the             22            MR. VOGEL: I think you meant to say
23   bottom that we already looked at, again, Madlyn        23   his unhappiness with that evaluation.
24   Guarino seems to rate Mr. Marshall quite a bit         24            MR. McKEE: Yes. What did I say?
25   higher than you do; would you agree with that?         25            MR. VOGEL: The e-mails.

                                                  Page 98                                                  Page 100

 1      A. Yes.                                              1           MR. McKEE: Sorry.
 2      Q. Okay. Now, if an employee is given Needs          2           MR. VOGEL: That's okay.
 3   Improvement does that -- does that trigger any          3           MR. McKEE: Let's locate Exhibit 15.
 4   kind of corrective action, discipline, anything         4     Q. Exhibit 15 appears to be a Performance
 5   along those lines?                                      5   Improvement Plan that was given to Joe Marshall.
 6      A. No.                                               6     A. I don't believe that this was ever
 7      Q. Coaching, counseling, anything?                   7   delivered, but...
 8      A. No.                                               8     Q. Okay. Who drafted this Performance
 9      Q. Okay. Does it impact an employee's                9   Improvement Plan?
10   bonus?                                                 10     A. It started with me, it went to Dwayne
11      A. On Needs Improvement on either a Business        11   Curbow, it went to H.R. that I know of.
12   Objective or Leadership Model, it does not.            12     Q. Okay. Now, you've said that this was
13      Q. Does it impact --                                13   never delivered, and when I say "this," the
14      A. I was told it does not.                          14   Performance Improvement Plan, Exhibit 15. Why was
15      Q. Okay. Do you know if that's true?                15   it never delivered?
16      A. Well, I haven't personally experienced           16      A. I should say that it was delivered to Joe
17   it, but I researched it through our H.R.               17   but it was never put in place. It was never put
18   Department and asked that question and they told       18   into effect.
19   me -- before I did this with Joe, and I did it         19      Q. Why was the Performance Improvement Plan
20   prior with other individuals and have done it          20   never put into effect?
21   since with other individuals, making sure that the     21      A. I was never told why it was not put into
22   policy doesn't change before I do it, because what     22   effect.
23   I did not want to do is affect his pay or his          23      Q. Okay. So you're saying nobody with Human
24   bonus.                                                 24   Resources talked with you about this?
25      Q. Okay. Who determines the pay increase            25      A. I was just told it was not going to go

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 27 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                               Page 101                                                    Page 103

 1   forward.                                              1   26th, 2016. Are those the only times that you
 2     Q. Okay. You didn't ask why?                        2   recall Mr. Marshall having some kind of loud
 3     A. I did.                                           3   outburst?
 4     Q. And what were you told?                          4     A. Those are the dates I had documented.
 5     A. "That's our decision."                           5   There were other dates that I did not document.
 6     Q. Okay.                                            6     Q. Okay. Why not?
 7     A. "Move on."                                       7     A. I didn't feel the need that we needed to
 8     Q. All right. And so in the first sentence          8   document more than that for this document.
 9   of it it says "The principal purpose of this          9     Q. Okay. Did you make any notes of these
10   Performance Improvement Plan is to improve all       10   other loud outburst or personal attacks?
11   aspects of your performance to an on-target          11     A. I don't recall.
12   level." Did I read that right?                       12     Q. Okay.
13     A. Correct.                                        13     A. I may or may not have. You have all my
14     Q. So if an employee gets a Needs                  14   notes.
15   Improvement, then is the employee given one of       15     Q. Okay. Now, down there on February 24,
16   these Performance Improvement Plans?                 16   2016, says "...you got in another employee's
17     A. If the employee gets -- in his overall          17   face..." Who was the employee that you're
18   rating if he would get a Needs Improvement --        18   referring to?
19     Q. Okay.                                           19     A. I don't recall.
20     A. -- in his overall rating he would get a         20     Q. Okay. Who told you --
21   Performance Improvement Plan.                        21     A. I think it might have been me but I don't
22     Q. Was Mr. Marshall ever given an overall          22   recall.
23   rating of Needs Improvement by you?                  23     Q. Okay. All right. So if it would have
24     A. I believe that's why this was written for       24   been you -- earlier you said "...including your
25   the midyear 2016.                                    25   direct supervisor and his supervisor," and you're

                                               Page 102                                                    Page 104

 1     Q. Okay. Now, so if somebody were to get a          1   talking about you, because you would be the direct
 2   Needs Improvement in a year-end evaluation and        2   supervisor, right?
 3   then get another Needs Improvement in their next      3     A. Yes.
 4   evaluation, does that trigger a PIP?                  4     Q. And Curbow would be supervisor?
 5     A. A Needs Improvement on an individual             5     A. Correct.
 6   objective would not.                                  6     Q. Okay. So why would you say another
 7     Q. Okay.                                            7   employee's face if it was you?
 8     A. A Needs Improvement on an overall score          8     A. I wouldn't. Probably was somebody else.
 9   would.                                                9   I'd have to research. I don't recall.
10     Q. Okay. Let's go down, midway down, starts        10     Q. Okay. Do you recall if you witnessed
11   out "Performance Improvement Needed:" Do you see     11   that or somebody reported it to you?
12   that?                                                12     A. Don't recall.
13     A. Yeah.                                           13     Q. Now, on February 26th, it's an issue on
14     Q. Okay. I want to talk about -- we've been        14   this daily log. Did you ever ask Mr. Marshall to
15   talking about it for awhile, but "When               15   see the daily log that you had asked him to
16   communicating with employees you often have loud     16   prepare?
17   outbursts with personal attacks towards employees,   17     A. I did.
18   often involving inappropriate language, including    18     Q. Okay. And did he show it to you?
19   to your direct supervisor and his supervisor."       19     A. I recall asking him to bring it to my
20   Did I read that correctly?                           20   cubicle, I was in a cubicle at the time, so we
21     A. Yes.                                            21   could review it.
22     Q. Okay. Tell me -- okay. You have down            22     Q. And so had Mr. Marshall been preparing
23   below February 24th, 2016.                           23   the daily log as you had instructed him to?
24     A. February 4th, February 24th and --              24     A. He was making an attempt at it.
25     Q. I'm sorry, February 4th, 2016, 24th and         25     Q. Okay. And you're sure that you asked him

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 28 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 105                                                  Page 107

 1   to see it?                                             1   documented this on May 5th, May 6th and June 2nd."
 2     A. I asked him if I could see the daily log.         2     A. Yes.
 3     Q. Okay.                                             3     Q. Did I read that right?
 4     A. What verbiage I actually used, I don't            4     A. Yeah.
 5   recall what the actual verbiage was.                   5     Q. Okay. Why were you looking into Mr.
 6     Q. Okay. Now, can you tell me on the                 6   Marshall's lunch breaks or when he arrived at work
 7   February 26th incident, says he became very            7   or went home?
 8   agitated, vocal, yelling and swearing. Tell me         8     A. Because I would go try to find him and he
 9   what he was yelling and swearing.                      9   wouldn't be there, so in discussions with Dwayne
10     A. I don't recall verbatim what he was              10   he says "Well, start documenting when he's here."
11   saying, unless I wrote it down in a note.             11     Q. Okay. When did you talk with Dwayne
12     Q. Okay. But the only thing you recall is           12   about that?
13   him -- the only inappropriate language or swearing    13     A. Sometime before that.
14   that you recall as you sit here today is the          14     Q. Okay. Do you recall how much -- was it
15   comment "Are you fucking with me?"                    15   days, months, weeks?
16     A. That one sticks with me, yeah.                   16     A. Couldn't have been more than a week or
17     Q. Okay. But that's the only one that you           17   two.
18   recall?                                               18     Q. Okay. Now, did you ask Mr. Marshall
19     A. Yeah.                                            19   anything about May 5, 6 or June 2nd?
20     Q. Okay. Now, next section goes on to say           20     A. Don't recall if I asked him specifically
21   that other people were having to cover work for       21   about those dates.
22   Mr. Marshall. Can you tell me who was having to       22     Q. Did you ask him if maybe he had a
23   cover work for Mr. Marshall?                          23   doctor's appointment, anything like that?
24     A. I believe this is after I had asked him          24     A. Don't recall.
25   to take on the role of managing the demo project      25     Q. Okay. What if he would have had a

                                                Page 106                                                  Page 108

 1   that Bruce was still doing. Bruce Stuff, that is,      1   doctor's appointment?
 2   was still doing what he did before and Joe was not     2     A. Fine.
 3   taking on the role that he was supposed to.            3     Q. Okay. Now, since he was exempt he didn't
 4      Q. And how did you learn that Mr. Marshall          4   have to punch a time clock, did he?
 5   wasn't doing what he was supposed to with the demo     5     A. No.
 6   program?                                               6     Q. Okay. So tell me, what were the hours
 7      A. I don't recall how I found that out.             7   that he was expected to work?
 8      Q. Okay. Now, I want to look at -- we               8     A. Normal office hours are from eight to
 9   talked about that day log. If you look down below      9   four thirty. We ask people because we travel
10   it says "We requested you complete a daily log of     10   extensively that if you need to come in earlier
11   activities which you have never completed." Do        11   and leave earlier, it's okay, but our expectation
12   you see that?                                         12   is that you work an eight-hour day when you're in
13      A. Yep.                                            13   the office.
14      Q. So when did Mr. Marshall show you his           14     Q. All right. Then on the last page --
15   daily log?                                            15     A. Page 3?
16      A. Might have been after we talked about           16     Q. Yes.
17   this, but the daily log, I didn't see a daily log     17     A. Okay.
18   that he filled out. He filled out one                 18     Q. You say "Satisfactory performance must be
19   electronically and I had given him one manually,      19   achieved by September 9, 2016." Did I read that
20   but the electric one was fine. I don't know if it     20   right?
21   was after this or before that, but I did see one.     21     A. Correct.
22      Q. Okay. Then it goes on, "You've                  22     Q. And what if Mr. Marshall had not achieved
23   demonstrated difficulty in working a full day when    23   satisfactory performance by September 9 of 2016,
24   in the office, oftentimes coming in late, taking      24   what was going to happen?
25   long lunch breaks or leaving work early. I've         25            MR. VOGEL: Object to form, calls for

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 29 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                 Page 109                                                   Page 111

 1   speculation. You can answer.                            1   just be civil about the whole process.
 2      A. I don't know.                                     2      Q. Okay. Let's look at the last line where
 3      Q. What -- go ahead.                                 3   it says "Failure to meet these specified
 4      A. We'd have to evaluate what happened, what         4   requirements could result in additional
 5   it is.                                                  5   disciplinary action up to and including dismissal
 6      Q. Okay. What is the typical procedure if            6   from your exempt status." Did I read that
 7   somebody has not completed a PIP satisfactorily?        7   correctly?
 8      A. I haven't experienced that yet.                   8      A. Yeah.
 9      Q. Okay. Now, earlier I think you testified          9      Q. We can agree a PIP is considered
10   that you had asked what would happen if you gave       10   disciplinary action, right?
11   somebody a Needs Improvement on one of the             11            MR. VOGEL: Object to form.
12   categories. Did you talk to anybody about what         12            THE WITNESS: Can I answer?
13   would happen if somebody got a PIP and didn't          13            MR. VOGEL: Sure.
14   perform satisfactorily by the time set forth?          14      A. I disagree that it's discipline.
15      A. I did.                                           15      Q. Okay. Can you explain the last sentence?
16      Q. And what were you told?                          16   Says "Failure to meet these specified requirements
17      A. If they don't perform satisfactorily             17   could result in additional disciplinary action..."
18   we'll evaluate what was their effort at the time.      18   So if this PIP wasn't considered disciplinary
19      Q. Okay.                                            19   action, what prior disciplinary action had been
20      A. And make a decision to move forward with         20   given to Mr. Marshall?
21   what -- at that time.                                  21      A. I don't know if there's any, but I think
22      Q. And so did you have any plan as to what          22   the statement is just a general statement. I
23   to do at this time if Mr. Marshall didn't complete     23   don't consider a PIP to be disciplinary. I
24   it up to your satisfaction?                            24   consider a PIP to be a tool that is used for
25      A. I had every intention of supporting Mr.          25   somebody to correct their behavior so that they

                                                 Page 110                                                   Page 112

 1   Marshall to complete the PIP so that he could           1   don't go down a disciplinary road.
 2   conform and comply with the expectations of the         2     Q. Okay. But that sentence also says if you
 3   PIP.                                                    3   fail to meet the specified requirements you could
 4      Q. Okay. So then did you begin having                4   end up getting terminated, right?
 5   biweekly meetings with Mr. Marshall?                    5     A. Yes.
 6      A. I believe we did, but I can't say that we         6     Q. Now, at some point you're aware that Mr.
 7   made exactly every biweekly meeting because I           7   Marshall made allegations that you had
 8   travel extensively and he traveled extensively.         8   discriminated against him. Do you recall when you
 9   It may have been a phone call, it may have been a       9   learned that?
10   face-to-face meeting, but I don't recall if we         10     A. I believe Dwayne Curbow told me.
11   made every biweekly meeting.                           11     Q. Okay.
12      Q. Now, let me --                                   12     A. I didn't actually see the document that
13      A. But this was never put in place, you know        13   says that he did until my attorney here --
14   what I'm saying?                                       14     Q. Okay. Now, as part of -- you became
15      Q. But it was given to Mr. Marshall?                15   aware -- hold on, you said you didn't --
16      A. It was given to him, yes.                        16     A. I didn't see the document that said that
17      Q. So it's fair to say that Mr. Marshall was        17   he claimed that we had discriminated against him.
18   made aware of what you thought about his job           18     Q. Okay. Well, you'd been told by Human
19   performance with this PIP, right?                      19   Resources or Dwayne Curbow or somebody that he
20      A. I'm assuming he got the hint that yelling        20   alleged age discrimination, right?
21   and screaming at me is not an acceptable practice.     21     A. Yes.
22      Q. So you're saying that the only reason he         22     Q. And that was sometime during 2016, right?
23   got it was because he was allegedly yelling and        23     A. Yes.
24   screaming at you?                                      24     Q. Okay. And Human Resources conducted an
25      A. That's what drove this whole process,            25   investigation, right?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 30 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                               Page 113                                                    Page 115

 1     A. Correct.                                         1      Q. Okay. And you see -- it goes on a little
 2     Q. And do you recall that Human Resources           2   further down and it says "He said he was concerned
 3   looked at the PIP that you had given to Mr.           3   that Joe Marshall would get upset..." Do you see
 4   Marshall and decided that it shouldn't be             4   that?
 5   delivered to him or put in place, as you said?        5      A. What paragraph are you in?
 6     A. That was their decision, yes.                    6      Q. Sorry, the first one.
 7     Q. Why was that H.R.'s decision?                    7      A. Okay.
 8           MR. VOGEL: Objection to form, calls           8      Q. Third line down.
 9   for speculation.                                      9      A. Yeah.
10           THE WITNESS: Can I answer?                   10      Q. Okay. Now, if you go down to the fourth
11           MR. VOGEL: You can answer, if you            11   bullet point down, "How did Mr. Marshall react to
12   know.                                                12   that?" Do you see it?
13     A. I don't know why.                               13      A. Yeah.
14     Q. Did anybody from Human Resources tell you       14      Q. "He got upset..." Do you see that?
15   why the PIP that you had given to Mr. Marshall was   15      A. Yeah.
16   not going to be put in place?                        16      Q. Okay. So you recall Mr. Marshall got
17           MR. VOGEL: Objection to form, asked          17   upset?
18   and answered. You can answer.                        18      A. I don't disagree that he got upset, yes.
19     A. I didn't give it to Mr. Marshall, the PIP       19      Q. Okay. Then you say -- next paragraph
20   to Mr. Marshall. That was a group process. H.R.      20   says "He was raising his voice and getting upset a
21   never told me why they didn't execute it.            21   little bit, but I think that Joe Buelt could have
22     Q. What do you mean it was a group process?        22   approached the situation better."
23     A. I mean, it's H.R., my boss and myself           23      A. Yes.
24   were all there at the same time.                     24      Q. Okay. So do you agree with that
25     Q. When the PIP was delivered?                     25   statement?

                                               Page 114                                                    Page 116

 1     A. Yes.                                             1     A. I agree that Derek had a different
 2     Q. Okay.                                            2   opinion but I took his -- and he told me this
 3          (WHEREUPON Buelt Deposition                    3   after that meeting, that -- I remember him telling
 4          Exhibit No. 27 was marked for                  4   me that, and I said "Thanks for the feedback."
 5          identification by the Reporter.)               5     Q. Okay. What did Derek Brown tell you
 6     Q. You're being handed what's been marked as        6   after that meeting?
 7   Exhibit No. 27. Have you seen Exhibit No. 27          7     A. He said "You might have to tell him what
 8   before?                                               8   you expect, or ask him why did he make those
 9     A. No.                                              9   travel arrangements that way first before
10     Q. Okay. I'll give you an opportunity to           10   criticizing him." I think that's what he said.
11   read it. Let me know once you're done, please.       11     Q. Okay. Then you see the last part of the
12     A. (Witness Complies). Okay.                       12   paragraph, "...Marshall saying that he had no
13     Q. And before today have you seen Exhibit          13   direction on tasks in general. It wasn't just
14   No. 27 before?                                       14   travel arrangements that he was saying he had no
15     A. No.                                             15   direction on." Do you see that?
16     Q. Okay. Were you aware that Derek Brown           16     A. Uh-huh.
17   had been questioned by Human Resources?              17     Q. Yes?
18     A. I was -- I think Derek told me that,            18            MR. VOGEL: Make sure you say yes
19   yeah.                                                19   instead of --
20     Q. Would you agree -- first it says "Were          20     A. Yes.
21   you in a meeting between Joe Marshall and Joe        21     Q. Okay. And did you do anything to address
22   Buelt back in December, 2015." Does that refresh     22   that issue with Mr. Marshall?
23   your recollection? Do you believe that the           23     A. Address that he had no direction on
24   meeting was in December of 2015?                     24   travel expectations?
25     A. Okay, yes.                                      25     Q. Well, it says that he was saying he had

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 31 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                Page 117                                                  Page 119

 1   no direction -- it wasn't just travel                  1      A. Yes.
 2   arrangements.                                          2      Q. Can you name anyone other than you that
 3     A. Yes.                                              3   has made you aware that has seen Mr. Marshall lose
 4     Q. Okay. So that -- do you recall that Mr.           4   his temper or act unprofessionally?
 5   Marshall was telling you in December of 2015 that      5      A. Dwayne Curbow.
 6   he believed you weren't giving him any direction       6      Q. Okay. Other than Mr. Curbow and you can
 7   on his job?                                            7   you name anyone else?
 8     A. Joe brought that up. I attempted to work          8      A. Not off the top of my head.
 9   through that, yes.                                     9      Q. Okay. So is it fair to say that you're
10     Q. Okay. What did you do to attempt to work         10   unaware of Mr. Marshall losing his temper or
11   through that?                                         11   acting unprofessionally with anyone other than you
12     A. In my opinion the first thing I need to          12   and Mr. Curbow; is that fair to say?
13   do is find out what is his job and then I need to     13      A. It's fair to say.
14   make a better effort to tell him what my              14      Q. Let's look at the last paragraph. Have
15   expectations are.                                     15   you read that?
16     Q. I want to go down to the next paragraph,         16      A. Yes.
17   third line down. It's at the far right, starts        17      Q. Okay. And it sounds to me like Derek
18   with the word "Both..."                               18   Brown is saying that you give work to people and
19     A. Yeah.                                            19   you may not tell them how they're supposed to do
20     Q. "Both were not handling it well but              20   it or what they're supposed to do, right?
21   neither were out of line."                            21      A. That is correct.
22     A. Uh-huh.                                          22      Q. Okay. Has anybody else ever told you
23     Q. Do you see that?                                 23   that before?
24     A. Yeah.                                            24      A. Derek.
25     Q. Do you agree with what Derek Brown says?         25      Q. Okay. Anybody else told you that?

                                                Page 118                                                  Page 120

 1     A. In that meeting Derek had to say that,            1     A. Terry, Terry Pind.
 2   that's his opinion.                                    2     Q. Anybody else?
 3     Q. But did you disagree --                           3     A. Bruce Stuff.
 4     A. I don't disagree with him from this               4     Q. Okay. When you gave the demo program to
 5   conversation, no.                                      5   Mr. Marshall did you give him any written
 6     Q. Okay. Then it goes on to say "Marshall            6   direction or instructions on what he was supposed
 7   got loud but didn't say anything unprofessional -      7   to do?
 8   no threats or name calling from either party. At       8     A. I did not.
 9   the end they agreed to disagree." Did I read that      9     Q. Okay. Why not?
10   right?                                                10     A. Because I wanted him to take ahold of the
11     A. I -- yes.                                        11   program and just run it on his own.
12     Q. Okay. Do you agree with that statement?          12     Q. Okay. How was he going to figure out how
13     A. I agree that that's what Derek wrote at          13   to do it?
14   the time and I don't disagree that at that point      14     A. Mr. Bruce Stuff would tell him how he was
15   we agreed to disagree.                                15   running the program now and just take it from
16     Q. But do you agree that Mr. Marshall did           16   there.
17   not say anything unprofessional?                      17     Q. At some point you told Mr. Stuff that he
18     A. I don't disagree with that, at that              18   wasn't to work on the demo program though, right?
19   meeting.                                              19     A. I asked him not to work on demos, to
20     Q. Okay. Now let's look at the second page.         20   concentrate on his other duties, because his other
21     A. Yeah.                                            21   duties needed to be done.
22     Q. It asks "Have you ever witnessed Mr.             22     Q. Okay. And at some point you told Mr.
23   Marshall use his temper with anyone or act            23   Stuff that he wasn't to do anything on the demo
24   unprofessional?" And his answer is "No." Do you       24   program because it was expected -- you expected
25   see that?                                             25   Mr. Marshall to do it, right?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 32 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                                Page 121                                                  Page 123

 1     A. I did tell him that, yes.                         1   suspect that an employee, co-worker,
 2     Q. Okay. And then you told Mr. Stuff that            2   subordinate -- you suspect that there is
 3   he wasn't to help Mr. Marshall in any way on a         3   capability of violence or abuse that you're
 4   demo program, right?                                   4   supposed to refer them to the EAP program?
 5     A. I don't think I told Bruce that.                  5     A. I've been through the program, yes.
 6     Q. Okay. What do you remember that you told          6     Q. Okay. Did you ever suggest that Mr.
 7   him?                                                   7   Marshall go to the EAP program because you thought
 8     A. I told him "If Joe comes and asks you for         8   he might need some help?
 9   help, provide him the help but have Joe do it."        9     A. I don't recall if I did or did not.
10     Q. Other than the three times -- because I          10     Q. Is it fair to say you did not?
11   didn't ask you earlier, the three times that you      11     A. I don't think it's fair to say if I did
12   noted that Mr. Marshall wasn't in the office or he    12   or did not.
13   was in late, he left early or had a long lunch, do    13     Q. Have you referred -- I'm sorry, did you
14   you recall any other days in which Mr. Marshall       14   say you started working for BNSF in 2011?
15   wasn't in the office when you had gone looking for    15     A. Yes.
16   him and you suspected that he wasn't working?         16     Q. In the last eight years have you
17     A. I don't recall. I don't recall a                 17   suggested to any of your subordinates or
18   document or date, no.                                 18   co-workers that he or she go to the EAP program
19     Q. Now, do you recall anybody other than you        19   for assistance?
20   saying that Mr. Marshall fit the description of       20     A. Yes.
21   somebody that was capable of workplace violence?      21     Q. Okay. Anyone that you suspected was
22     A. I do not know or have knowledge of that.         22   violent or could be violent that you referred to
23     Q. I'm sorry?                                       23   the EAP program?
24     A. I don't have knowledge of anybody else           24     A. No.
25   saying that.                                          25     Q. Did you ever contact Human Resources and

                                                Page 122                                                  Page 124

 1     Q. When you talked to Mr. Curbow about it            1   tell them "I've got an employee that I think meets
 2   did he -- did Mr. Curbow say anything to you?          2   the characteristics of somebody that could be
 3     A. I'm sure he did but I don't recall what           3   violent -- could be capable of workplace
 4   he said exactly.                                       4   violence"?
 5     Q. Okay. Now, at some point did you make a           5      A. I don't recall doing that, no.
 6   decision that it was time for Mr. Marshall to go?      6      Q. Okay. Now, you know that it's part of
 7     A. What do you mean by that? Go where?               7   BNSF policies that if you suspected that somebody
 8     Q. At some point were you done dealing with          8   was a danger to himself or others you had an
 9   Mr. Marshall because he was a difficult employee       9   obligation to report it, right?
10   that you thought was capable of workplace violence    10      A. Yes.
11   and you thought it was time for him to be out of      11      Q. Okay. And if a manager suspected that an
12   Facilities?                                           12   employee was capable of workplace violence and
13     A. No.                                              13   chose not to report it, that would be a violation
14     Q. Okay. Why not?                                   14   of BNSF policy, right?
15     A. My objective is to use -- have him do his        15            MR. VOGEL: Objection to form, lack
16   job.                                                  16   of foundation, improper opinion. You can answer.
17     Q. Okay.                                            17      A. I don't know if it is or is not.
18     A. Give him an opportunity to do his job.           18      Q. As to your understanding, as a manager
19     Q. Did you ever tell Mr. Marshall that you          19   for BNSF that supervises employees do you believe
20   thought he was capable of workplace violence?         20   it would be a violation of policy if you failed to
21     A. I don't recall saying that.                      21   report an employee that you suspected to be
22     Q. Okay. Does BNSF have an EAP program or           22   capable of workplace violence?
23   an Employee Assistance Program?                       23            MR. VOGEL: Same objections.
24     A. Yes.                                             24      A. How do you suspect them to be -- I'm not
25     Q. Have you ever been trained that if you           25   an expert to say that they're going to do

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 33 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                               Page 125                                                   Page 127

 1   something. I'm just saying they demonstrate the       1   worked for you?
 2   traits.                                               2     A. An exempt employee, no.
 3     Q. Tell me what traits he demonstrated.             3     Q. Have you ever recommended that an exempt
 4            MR. VOGEL: Object to form, asked and         4   employee be terminated?
 5   answered.                                             5     A. For BNSF, no.
 6            THE WITNESS: Do I answer?                    6     Q. Okay. Is it fair to say that you were
 7            MR. VOGEL: You can answer again.             7   frustrated with Mr. Marshall in 2016?
 8     A. When he's yelling at me, I mean, he's            8     A. I was frustrated that he was not taking
 9   just getting...                                       9   the direction and moving the ball in the direction
10     Q. Would you agree that the reason you made        10   that BNSF wanted to go.
11   these allegations that Mr. Marshall was capable of   11     Q. You've had several years to think about
12   workplace violence is because you were trying to     12   the situation with Mr. Marshall. Is there
13   discredit the things that he had to say?             13   anything that you would have done differently if
14            MR. VOGEL: Objection to form,               14   you had it to do over again?
15   argumentative. You can answer.                       15     A. Convince him to stick around and take
16     A. No.                                             16   care of the scales longer and set up the program.
17     Q. Okay. Were you concerned that Mr.               17     Q. Okay. Why do you say that?
18   Marshall may have been abusing somebody outside      18     A. Because it landed in my court to set up
19   the workplace?                                       19   the program.
20     A. No.                                             20     Q. Okay.
21     Q. Okay. Why not?                                  21     A. Ill equipped to do so.
22     A. I have no reason to believe that.               22     Q. All right. You knew that Mr. Marshall
23     Q. So does BNSF have any type of a mediation       23   decided to return to the craft based upon the way
24   or conciliation program in which if you have a       24   that you were treating him? That was his
25   problem employee you're able to work together and    25   allegation, right?

                                               Page 126                                                   Page 128

 1   try to overcome whatever obstacles there are?         1     A. That's what he put in his note, yeah.
 2     A. A PIP program.                                   2     Q. Okay. Did you ever go to Mr. Marshall
 3     Q. Okay. That PIP program is a disciplinary         3   and say "Hey, we really need you here, we've
 4   program, right?                                       4   gotten off to the wrong start. Let's see if we
 5            MR. VOGEL: Objection to form,                5   can make this work"?
 6   argumentative, mischaracterizes the previous          6     A. I didn't use those terms, no.
 7   testimony, mischaracterizes the program. You can      7     Q. Okay. Tell me what you did do.
 8   answer.                                               8     A. "I wish you the best. I wish you'd stick
 9     A. I don't know if it's considered part of          9   around and complete this process."
10   the disciplinary program or not.                     10     Q. And that process was to --
11     Q. Tell me the process for terminating an          11     A. Take the scale program from where it was
12   employee. How does that work, is it progressive      12   to where it needed to go.
13   discipline?                                          13     Q. Okay. And that was to be able to train
14     A. Depends on the -- not necessarily.              14   somebody else that could do the position?
15     Q. Okay. Tell me how the process to                15     A. No, to have a consultant/contractor with
16   terminate an employee typically works.               16   a BNSF exempt employee overseeing and managing the
17     A. An employee violates a policy, rules            17   process, much like what we do with the BNSF demo
18   violations, and it's investigated, it's reviewed     18   program.
19   by a group of exempt employees, and H.R. and their   19     Q. Were you upset when Human Resources said
20   manager of that organization makes the decision      20   that the PIP was not going to be put in place?
21   that that person doesn't work for that               21     A. Upset, no.
22   organization anymore.                                22     Q. That had to frustrate you some, didn't
23     Q. Okay. Is a PIP a part of that process?          23   it?
24     A. I don't know if it is or is not.                24     A. No.
25     Q. Have you ever terminated an employee that       25     Q. Why not?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 34 of 43
Ervin J. Marshall v.                                                                                  Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                             May 31, 2019
                                               Page 129                                                   Page 131

 1     A. Because I've been around the block a few         1   Dwayne Curbow, starts with "The sharing of your
 2   times and if I'm told something's not going to        2   knowledge..." Do you see that? The last
 3   happen it's okay.                                     3   sentence, it says "Helping the younger people in
 4     Q. Do you recall that Mr. Marshall alleged          4   the group will only help them in the long run with
 5   that you had been dishonest?                          5   future projects and positions."
 6     A. Yes.                                             6     A. Okay.
 7     Q. Okay. Wouldn't Human Resources saying            7     Q. Did you discuss that comment with Mr.
 8   that the PIP wasn't going to be put in place          8   Curbow?
 9   support his allegations that you were dishonest?      9     A. I don't recall specifically.
10            MR. VOGEL: Objection, lack of               10     Q. Did this seem to be an odd or strange
11   foundation, speculation, improper opinion,           11   comment to have your manager put into an
12   argumentative.                                       12   evaluation for you?
13     Q. Did it make you feel that way?                  13     A. I don't have any comment. I don't know
14     A. No.                                             14   what...
15     Q. Did it make you feel like H.R. was              15     Q. I mean, did -- can you understand how if
16   believing what Mr. Marshall had to say over what     16   somebody -- well, strike that.
17   you had to say?                                      17          Who are the younger people in the group
18     A. No.                                             18   that Mr. Curbow was talking about in that
19     Q. Why not?                                        19   sentence?
20     A. I never understand why H.R. does what           20           MR. VOGEL: Object to form,
21   they do so I just stopped trying to figure them      21   speculation, lack of foundation. You can answer.
22   out a long time ago.                                 22     A. I can only assume it's Derek and Andrew,
23     Q. Have you ever had a situation in which          23   but...
24   you wanted -- or you delivered a PIP to an           24     Q. Okay. Andrew, is that Andrew Bartell?
25   employee that subsequently wasn't put in place       25     A. Yes.

                                               Page 130                                                   Page 132

 1   based upon a complaint by that employee?              1     Q. Okay. Do you recall approximately when
 2     A. No.                                              2   Bartell started to do some of the work involving
 3     Q. Do you recall anyone ever saying with            3   scales?
 4   BNSF that they wanted to have younger employees?      4     A. I don't recall the exact date, no.
 5     A. No.                                              5     Q. Was it before Mr. Marshall left?
 6     Q. Have you had anybody make any other              6     A. I believe, yes.
 7   complaints about you at any point that you were       7     Q. Okay. When did you -- or did you ever
 8   treating an employee unfairly?                        8   hear that they were going to eliminate Mr.
 9     A. Not that I'm aware of.                           9   Marshall's position?
10     Q. Okay. Were you counseled or coached or          10     A. Yes.
11   disciplined for issues with Mr. Marshall?            11     Q. When did you learn that BNSF was going to
12     A. No.                                             12   eliminate Mr. Marshall's position?
13     Q. Okay.                                           13     A. When I requested if we could train
14            MR. McKEE: Let's take a break.              14   somebody in as being the scale inspector to gain
15          (WHEREUPON a recess was had, after            15   the tribal knowledge. The job was not going to be
16          which the following:)                         16   back filled.
17     Q. I will tell you honestly because I took         17     Q. Okay. And so you understood that to mean
18   Mr. Stuff's deposition this morning that I can't     18   they were going to eliminate the position of Mr.
19   remember if I asked you this question on Exhibit     19   Marshall?
20   No. 25, so if you don't mind taking a look at        20     A. That position of scale inspector, yes.
21   that.                                                21   The job title was going to go away.
22     A. Yes.                                            22     Q. Okay. Did you ever tell Mr. Marshall
23     Q. On Page 5 --                                    23   that that position was going to go away?
24     A. Okay.                                           24     A. I believe I did.
25     Q. -- the last paragraph under Appraisal by        25     Q. Okay. When do you think you told him

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 35 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 133                                                   Page 135

 1   that?                                                  1   probably had an idea but it wasn't expressed to
 2     A. I believe I told him that when we were            2   me.
 3   setting up the process of going from the scale         3     Q. Okay. Who do you think may have an idea
 4   inspector, what he was doing, to what the new          4   as to the expiration date?
 5   rule -- new vision would be for being a                5     A. I'm not going to speculate who had that.
 6   consultant/contractor managed by an exempt             6   I don't know. Somebody may have but I was not
 7   employee who also had to do other work.                7   made privy to that.
 8     Q. And do you recall approximately what date         8     Q. Who was Dwayne Curbow's boss?
 9   that was?                                              9     A. Craig Rasmussen.
10     A. Don't recall.                                    10     Q. Who was Craig Rasmussen's boss?
11     Q. Do you think that was in 2015?                   11     A. Steve -- I believe it was Steve Anderson
12     A. I don't know if it was 2015 or if it was         12   at the time. I don't know who the vice-president
13   2016.                                                 13   was at the time, but I believe it was Steve
14     Q. What do you recall Mr. Marshall saying           14   Anderson.
15   when you told him that his position was going to      15     Q. Okay. Do you think one of those
16   be eliminated?                                        16   individuals may have had an expiration date on Mr.
17     A. I don't recall exactly what he said.             17   Marshall's job?
18     Q. Well, what do you recall about what he           18     A. I don't know. They would evaluate it and
19   said?                                                 19   let me know when they made that decision if and
20     A. I thought he says "They can't even pick          20   when they did.
21   somebody --" I don't remember what he said, I         21     Q. Did you help Mr. Marshall look for any
22   don't remember.                                       22   other positions within BNSF?
23     Q. Well, you said there were certain things         23     A. I don't recall doing that.
24   like, you know, when he said "You're fucking with     24     Q. Is that something that as a manager
25   me," that that was memorable, and you said that he    25   you've done, is recommend or assist employees in

                                                Page 134                                                   Page 136

 1   would get loud and have outbursts and was              1   finding other positions?
 2   difficult. Now, when you told him, being Mr.           2     A. Yes.
 3   Marshall, that his job was being eliminated are        3     Q. Okay. Did you assist Bartell in finding
 4   you saying that you don't remember how he              4   another position?
 5   responded?                                             5     A. Yes.
 6     A. I didn't say his job was going to be              6     Q. Okay. And Bartell, was his position
 7   eliminated. When he left the position we weren't       7   eliminated?
 8   going to back fill it. The position would be           8     A. Yes.
 9   eliminated when he left.                               9     Q. Okay. And what did you do to help him
10     Q. Okay.                                            10   locate another position?
11     A. Also told him he could stay in the               11     A. Gave him avenues where I thought he'd be
12   position for as long as he wanted to as far as --     12   successful.
13   I was under the understanding that there was no       13     Q. Okay. Did you at some point then tell
14   date picked out that it needed to end by.             14   Bartell that his position was going to be
15     Q. Okay. Do you recall ever seeing any              15   eliminated?
16   documents that say Mr. Marshall could stay in that    16     A. Yes.
17   job as long as he wanted?                             17     Q. Do you recall approximately when you told
18     A. I do not.                                        18   Bartell?
19     Q. Now, if Mr. Marshall was to be putting           19     A. I don't recall.
20   together some kind of an explanation on how a         20     Q. All right. Is there anybody else that
21   college kid could do his job, how was it that Mr.     21   you recall assisting in finding another position?
22   Marshall could have stayed in his job as long as      22     A. Derek Brown.
23   he wanted? There was some kind of an expiration       23     Q. Okay. Tell me what you did to assist
24   date, wasn't there?                                   24   Derek Brown.
25     A. I just didn't know what it was. Somebody         25     A. Derek needed to do some work in the

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 36 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 137                                                   Page 139

 1   bridge world, as a bridge engineer making repairs      1   together?
 2   to bridges to further his career, so I strongly        2     A. It would help put that together. That's
 3   suggested to him to move into a role that would        3   a basis where -- you can start with that and you
 4   help him further his career.                           4   can pull that up and look at the process and say
 5     Q. Okay.                                             5   "Who do you see all the time?" Or what I did on
 6     A. That was a bridge -- it was actually a            6   that date to help.
 7   lateral move for him.                                  7     Q. But you did not ask Andrew Bartell to do
 8     Q. Okay. So did you make any suggestions to          8   a daily log, did you?
 9   Mr. Marshall about a job that he could transition      9     A. No.
10   into?                                                 10     Q. You didn't ask Derek Brown to do a daily
11     A. I don't recall if I did or did not.              11   log, did you?
12     Q. Now, was there anything that Mr. Marshall        12     A. No.
13   did well when he worked for you?                      13     Q. Why not?
14     A. Yes.                                             14     A. Because they were progressing towards
15     Q. Okay. What did he do well?                       15   doing -- putting together a process where they
16     A. He was very technically expert at what           16   could -- a person coming in could pick up the
17   made a scale work, how to troubleshoot a scale if     17   pieces and move forward.
18   and when it wasn't working correctly.                 18     Q. I may just be slow here but what I don't
19     Q. Earlier we talked a little bit about an          19   understand is if Joe Marshall's position was going
20   exit plan. Is an exit plan something that you         20   to be eliminated there wouldn't be anybody that
21   talk to all your employees about?                     21   was coming in to pick up the pieces, would there?
22     A. An exit plan as far as if they leave             22     A. There's a role that needs to be filled
23   their position, if their role that they're doing      23   that is still part of the role that he was going
24   does not have -- if they exit, whoever comes into     24   to manage, the managing of those scales.
25   that needs to have a way of being able to pick up     25     Q. Okay. Who manages the scales now?

                                                Page 138                                                   Page 140

 1   the pieces so BNSF can continue on its business.       1     A. Unfortunately I do.
 2   As an exempt employee part of your role is to make     2     Q. Okay. Why do you say unfortunately?
 3   sure that that transition works because at BNSF, I     3     A. Because I'm trying to find somebody else
 4   don't know what the average is, but we change          4   who will take them.
 5   positions pretty quickly.                              5     Q. Okay. And so what have you done to try
 6      Q. Okay. As part of an exit plan -- well,           6   to get somebody to take the scales?
 7   strike that.                                           7     A. Well, get my boss to say it should go to
 8           So do you have an exit plan with all of        8   somebody else. He's the one that told me it needs
 9   the employees that work for you?                       9   to be with me.
10      A. Working on getting it. I'm almost there.        10     Q. Did he tell you why you should have that
11      Q. Okay. In 2015, 2016, did you have exit          11   responsibility?
12   plans for Derek Brown or Andrew Bartell?              12     A. The reason is so you understand it, you
13      A. No.                                             13   set up the plan for it. I've not completely
14      Q. Why not?                                        14   developed -- done developing the plan that I asked
15      A. Because it wasn't developed. They were          15   Joe to start with. I'm still in the process of
16   working on them.                                      16   setting that up, it's still -- almost there.
17      Q. What does that mean?                            17     Q. Okay. So are you paid anything
18      A. They're working on putting together -- if       18   additional to do that?
19   I leave this job, the next person coming in, if       19     A. No.
20   I'm not around how are they going to be able to       20     Q. So why haven't they been assigned to some
21   carry on with the projects, know who to call, what    21   kind of contractor?
22   to do, you know, if a problem comes up who can I      22     A. They are working with a contractor but
23   call, list of contractors, list of contacts or        23   the program is not completely set up. In other
24   consultants, those types of things.                   24   words, you need to have contracts set up, system
25      Q. Would a daily log have helped put that          25   checks and balances, who follows up on the

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 37 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 141                                                   Page 143

 1   process, ordering material, material logs, things      1     Q. What do you specifically take exception
 2   of that nature.                                        2   to?
 3     Q. Okay. Like I said, I'm probably slow              3     A. Coaching and counseling for both Mr.
 4   here. I also don't entirely understand obviously       4   Buelt and Mr. Marshall. I was never coached and
 5   your day-to-day function, so is it -- was it           5   counseled on the process.
 6   intended that Mr. Marshall, he was doing the           6     Q. Okay. Did anybody tell you that H.R.
 7   day-to-day, what would you say, maintenance on the     7   recommended that you be coached or counseled?
 8   scales but now that day-to-day maintenance is          8     A. No.
 9   being done by contractors or union workers?            9     Q. Now, coaching and counseling is a part of
10     A. No, the Schedule BMWE employees were             10   training; would you agree with that?
11   doing the work when Joe was there and was expected    11     A. Absolutely.
12   to do it. The direction that they were getting is     12     Q. And I don't mean this to come off as
13   now -- the support they're getting, instead of        13   being disingenuous or cynical, which we do sound a
14   calling Joe for support they've got a contractor/     14   lot as attorneys, but this "Coaching and
15   consultant to call who has tribal knowledge of        15   Counseling for Mr. Buelt: Providing clear and
16   those scales. The maintenance of the scale still      16   concise feedback to his employees, written and
17   falls on the locals.                                  17   verbally," do you agree that if somebody would
18     Q. Okay. How much time do they -- percent           18   have told you that it would have been -- or it
19   of time of your job duties are taken up by dealing    19   would have been nice to have somebody tell you
20   with scales?                                          20   that as just a part of training?
21     A. Right now?                                       21     A. I would like for some details, yeah.
22     Q. Yeah.                                            22     Q. You know, if somebody said to actively
23     A. Five percent.                                    23   listen to employee concerns, you know, just as a
24     Q. Okay. Now, were you ever sent or                 24   manager wouldn't you have appreciated somebody
25   suggested that you take any additional training       25   telling you that so you could at least look into

                                                Page 142                                                   Page 144

 1   due to any issues that you had with Mr. Marshall?      1   it?
 2     A. No.                                               2      A. Absolutely.
 3     Q. Okay. One of the things -- and I've               3      Q. Or "Providing specific detail for
 4   asked you several times, but can you think of          4   projects, either verbally or in writing, when
 5   anyone -- because I may want to talk to the            5   requested," has anybody ever told you that?
 6   person, anybody other than you and Mr. Curbow that     6      A. No, none of this has been referred.
 7   Joe had gotten loud with or said anything              7      Q. Last one, "Setting clear expectations of
 8   inappropriate to?                                      8   employee duties and hold employees accountable for
 9     A. Not that I know of.                               9   their completion," has anybody ever told you
10     Q. Okay. Do you believe that Mr. Marshall           10   anything like that?
11   was insubordinate with you?                           11      A. Not specifically, no.
12     A. I do not believe he was.                         12      Q. Anything similar?
13     Q. Okay. Why do you say that?                       13      A. All this is just general management
14     A. Because when I asked him directly to do          14   things that we get on a regular basis.
15   something he would do it.                             15      Q. Okay. So like I said, I'm looking at
16     Q. Okay.                                            16   this and if coaching and counseling isn't part of
17          (WHEREUPON Buelt Deposition                    17   discipline, it's to help you do your job better.
18          Exhibit No. 28 was marked for                  18   It would have been nice obviously for someone to
19          identification by the Reporter.)               19   tell you this; wouldn't you agree with that?
20     Q. Have you seen 28 before today?                   20      A. Uh-huh.
21     A. No.                                              21            MR. VOGEL: Make sure you answer
22     Q. Anything you read in here that you               22   verbally. Yes?
23   disagree with?                                        23      A. Yes. I'm sorry.
24     A. I would take exception to some of it but,        24          (WHEREUPON Buelt Deposition
25   no, I don't disagree with it.                         25          Exhibit No. 29 was marked for

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 38 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                 Page 145                                                   Page 147

 1          identification by the Reporter.)                 1     Q. Just to emphasize it?
 2      Q. What's marked as Exhibit 29, these are            2     A. To emphasize it, yes. It's also one of
 3   handwritten notes by you?                               3   our leadership modeling.
 4      A. Yes.                                              4     Q. Okay. I just was curious. Everything
 5      Q. And are these -- well, first, is this             5   says communicate, communicate, communicate.
 6   your handwriting on these documents?                    6     A. Yeah.
 7      A. Yes.                                              7     Q. Is that something that you were trained
 8      Q. Okay. And do these appear to be an                8   on doing or something you came up with?
 9   accurate copy of the -- of your notes that you          9     A. It's part of the BNSF model.
10   were taking?                                           10     Q. Okay.
11      A. Yes.                                             11     A. Leadership model.
12      Q. And I think I've got thirteen pages.             12     Q. And these notes about Mr. Marshall, like
13   Does that appear right? I just want to make sure       13   this first page, does it say June 14th or 19th?
14   I've got all of them.                                  14     A. Well, I don't know. I would say that's a
15      A. Yeah, there was thirteen when I printed          15   14 but could have been a 19. I'd have to look at
16   it out. I agree there's thirteen of them.              16   the page before and after.
17      Q. Do you believe this is all the                   17     Q. Okay. Do you know if that was '16 or
18   handwritten notes that you had concerning Joe          18   '15?
19   Marshall?                                              19     A. Again, I'd have to look in my log to see
20      A. Yes.                                             20   because I'm shocked -- I would say that's probably
21      Q. And there's some areas here where it             21   '16.
22   looks like a piece of paper is covering something      22     Q. Okay. That was kind of what I assumed,
23   up throughout. Do you see those?                       23   but do you want to look through and see if that
24      A. Yes.                                             24   happens to help refresh your recollection?
25      Q. Do you know -- well, is this some kind of        25     A. If it was '16 or '15?

                                                 Page 146                                                   Page 148

 1   a log that you keep?                                    1     Q. Yes.
 2      A. It's my ledger, yes.                              2     A. Do you want me to go get my log?
 3      Q. Okay. When you say ledger --                      3     Q. Well, can you tell by looking at it, by
 4      A. Book I just write stuff in, if I go               4   reading through it?
 5   someplace or -- it has everything in there from         5     A. I think it's '16, but...
 6   this to I'm taking notes on a conference call           6     Q. And it appears that it's going backwards
 7   about dimensions of a project or need to follow up      7   in date order?
 8   on something.                                           8     A. Yeah.
 9      Q. Okay.                                             9     Q. But I just want to make sure because I
10      A. It's a running log.                              10   will tell you recently I was looking at things
11      Q. Okay. Well, I was going to ask if                11   that had dates and so on and a year was off. So I
12   it's -- we talked about a daily log, if that's         12   just want to make sure.
13   what this would be?                                    13             MR. VOGEL: Can we go off the record
14      A. That's what this is.                             14   for half second?
15      Q. Okay. So --                                      15          (WHEREUPON an off the record
16      A. I don't write in it every day, but most          16         discussion was had, after which
17   days.                                                  17          the following:)
18      Q. Okay. You still do that now?                     18     Q. Since this is a copy of the ledger and
19      A. Yeah.                                            19   you don't have the original with you, it appears
20      Q. Okay. It's interesting, just kind of an          20   there's page numbers up in the corner?
21   aside, but I saw in one of your evaluations and I      21     A. Yes.
22   saw it later that you put the word communication       22     Q. So the book that you write in, does it
23   three times.                                           23   have pre-numbered pages?
24      A. Communicate, communicate, communicate,           24     A. Yes.
25   yeah.                                                  25     Q. Okay. So then you'd do it in date order

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 39 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 149                                                  Page 151

 1   so it would make sense that 103 was in 2016?           1     A. I didn't see it when I read through it
 2     A. Yes.                                              2   but let me read through it again now.
 3     Q. Okay. All right, thanks, that helps me            3     Q. Sure, go ahead.
 4   clarify it. And these blank areas, I don't think       4             (Pause in Proceedings)
 5   I actually let you answer, do you know, would that     5     Q. So what did you find?
 6   be for other employees that you were discussing?       6     A. I see that Bruce was in a room when I say
 7     A. It was put on by somebody else. There             7   that Joe was getting agitated, and I see that
 8   was something else when they made copies they          8   evidently I intended to ask him about bringing me
 9   decided that wasn't pertinent to this process.         9   his goals -- his log but Dwayne told me to let it
10     Q. Your log, you would take notes in your           10   lay.
11   log about other employees as well?                    11     Q. Okay. Here's -- okay. So by what you
12     A. Other employees, other situations, yes.          12   just said would you agree that you did not ask Mr.
13     Q. Okay. I just wanted to make sure of              13   Marshall to see his daily logs?
14   that. Do you know -- it appears that the first        14     A. My mind might have said I wanted to at
15   notes that we have are dated November 9, 2015?        15   the time but Dwayne evidently by my note -- should
16     A. Yep.                                             16   have read my notes closer.
17     Q. Would you have been keeping a log prior          17     Q. And what I was having you look for is if
18   to November 9, 2015?                                  18   you found anything in your notes in which it said
19     A. Yes.                                             19   that Joe Marshall had indicated to you that he
20     Q. And do you still have that log?                  20   planned to retire.
21     A. Yes.                                             21     A. I did not.
22     Q. Do you think it might have any notes of          22     Q. So there's nothing in your notes that
23   Joe Marshall, or did you look through it already?     23   says that, right?
24     A. I looked through it and I believe                24     A. Says in my notes he asked me if I was
25   somebody -- whoever you had for H.R. looked           25   trying to force him to retire. I told him I was

                                                Page 150                                                  Page 152

 1   through it too and made these copies.                  1   not trying to.
 2     Q. Okay. Do you know why you wouldn't have           2     Q. I see that, but what I'm trying to figure
 3   been taking any notes on Mr. Marshall prior to         3   out is if -- I just want to make sure that we've
 4   November 9th, 2015?                                    4   covered everything, because, remember, we looked
 5     A. I don't know why I did not write notes            5   at a document earlier in which you said the first
 6   about him.                                             6   time you met Mr. Marshall he let you know that he
 7     Q. I'm curious, when's the last time you             7   planned to retire in September or October of 2016,
 8   read through these?                                    8   so I'm trying to find if you have any note of that
 9     A. Wednesday when he sent them to me in the          9   anywhere.
10   afternoon, I read them on my computer screen          10     A. I do not. He may have told me, he may
11   quickly in preparation for this.                      11   not have told me. Somebody else may have told me,
12     Q. Is it fair to say that important events          12   I don't know.
13   you write down in this log?                           13     Q. Okay. So it's also -- does that also
14     A. Things that -- yeah.                             14   mean that it might be untrue as well?
15     Q. Let me ask it this way: What do you tend         15     A. I don't really care when or if he
16   to write down in your log? How do you decide          16   retired. It was up to him when he does that or
17   whether you should write it down or not?              17   will do that or has done it.
18     A. Things I want to be able to bring back           18     Q. Let's look at the page that's marked as
19   later in case somebody brings it up and asks me       19   85.
20   about it or if I need to follow up on something in    20     A. Okay.
21   the future.                                           21     Q. You brought it up and said -- do you see
22     Q. Okay. Did -- in reviewing this, these            22   at the bottom it says "Joe asked if I was trying
23   notes, have you found any note in which you said      23   to force him to retire"? Do you see that?
24   that Mr. Marshall advised you that he intended to     24     A. Yep.
25   retire in October or September, sometime in 2016?     25     Q. Did I read that correctly?

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 40 of 43
Ervin J. Marshall v.                                                                                    Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                               May 31, 2019
                                                Page 153                                                    Page 155

 1     A. Yeah.                                             1   operations that they're doing.
 2     Q. Then it says "I told him that I was not           2     Q. Okay. Then later in that note on March
 3   asking him to retire, just wanting him to show me      3   11, 2016, you state "He claims to Dwayne Curbow
 4   what he did on a daily basis. I need to                4   that I'm discriminating against him." Did I read
 5   understand what he did." Did I read that               5   that right?
 6   correctly?                                             6     A. Yes.
 7     A. Yes.                                              7     Q. What did Dwayne tell you about Mr.
 8     Q. Okay. Now, if you would have told Mr.             8   Marshall complaining that you were discriminating
 9   Marshall that you wanted him to work for --            9   against him?
10   continue working the scales for another three to      10     A. I think that's all he said. I don't
11   five years would it have been included in your        11   think he said he wasn't going to -- I don't
12   notes?                                                12   remember exactly what he said, but obviously I
13     A. May or may not have, no.                         13   wrote a note here that Dwayne is the one that told
14     Q. So there's nothing in your notes that you        14   me that.
15   just looked through and that's marked as Exhibit      15     Q. Okay. Now, at the bottom -- is that
16   29 indicating that you told Mr. Marshall that you     16   3-14-16?
17   would like him to remain for another three to five    17     A. I would say 3-14 of '16, yes.
18   years, is there?                                      18     Q. I don't see any notes between March 14,
19     A. No.                                              19   2016 and May 5, 2016.
20     Q. Okay. Now, in reviewing your notes did           20     A. Maybe there was nothing that came up that
21   you see anything in here in which you said that       21   I needed to write a note about or I was working on
22   you believed Mr. Marshall had violent tendencies?     22   other projects.
23     A. I don't see anything in here that would          23     Q. Okay. So if there's not a note is it
24   say violent tendencies. I do see in here where he     24   fair to say that it wasn't that big of deal?
25   becomes agitated.                                     25     A. Something I didn't feel I needed to write

                                                Page 154                                                    Page 156

 1     Q. Okay. Agitated would be significantly             1   a note. It was either documented in another way
 2   different than violent, would you agree?               2   if it needed to be or it -- there was nothing I
 3     A. I agree.                                          3   felt I needed to do.
 4     Q. Okay. So if you believed that -- or Mr.           4      Q. Now, look at Page 84, please.
 5   Marshall made you concerned of workplace violence      5      A. (Witness Complies).
 6   and you were talking about it to Human Resources       6      Q. Talks about a meeting with Bruce Stuff.
 7   as we saw in that note, why isn't it in your           7   Do you see that on February 24, 2016?
 8   notes?                                                 8      A. Yeah.
 9     A. Not every conversation that I had with            9      Q. To discuss the demo project?
10   Joe or with everybody else is written in a note.      10      A. Yes.
11     Q. Okay. But if something is important you          11      Q. And your notes say "Joe Marshall was
12   put it in your handwritten daily log, right?          12   asking if he could get an outline of the process
13     A. Something that I thought I needed to deal        13   from Bruce."
14   with or wanted to remember for the future. If I       14      A. Yes.
15   brought it to somebody else's attention already or    15      Q. And then in your handwriting you state "I
16   elevated it I would not put it in there.              16   began to tell Joe that there was no outline and
17     Q. All right. Look at Page 87.                      17   that if he wanted an outline he could write one to
18     A. (Witness Complies).                              18   determine the step to go through." Did I read
19     Q. Now, it talks -- starts out by talking           19   that right?
20   about the PMP process. Is that the objectives         20      A. Yep.
21   that the employee and the supervisor put together?    21      Q. Okay. So if Joe didn't know what he was
22     A. A PMP process is a Performance Management        22   supposed to do, wouldn't that have been an
23   Plan. Our system is put in place so that my goals     23   appropriate question to ask you, for some kind of
24   support my boss' goals and those that are direct      24   an outline on how he was to do the job?
25   reports to me need to support my goals in their       25      A. One doesn't exist. Didn't exist at the

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 41 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 157                                                   Page 159

 1   time, one doesn't exist. If you need one write         1   right?
 2   one, ask questions, what needs to be in there,         2      A. He got instructions in the form of --
 3   have Mr. Bruce Stuff look it over for what would       3   there's a document that's about how to do demos.
 4   have went on.                                          4   It's in our architectural guidelines, it's in the
 5     Q. Let me ask you this: If you wanted an             5   demo program. If you want it in a different
 6   outline of what Mr. Marshall did with the scales       6   format of an outline, take it and do that. That's
 7   position why didn't you just write it?                 7   the frustration part. We never got to have that
 8     A. Because I have no idea what it is and I           8   discussion.
 9   didn't have the time to sit with Mr. Marshall and      9      Q. Did you ever consider -- and this isn't
10   follow him around to figure out what it is that he    10   intended as a shot at either you or Mr. Marshall,
11   needed to do.                                         11   but, you know, sometimes in life there's just
12     Q. Okay. My point is, Mr. Marshall -- you           12   people we just can't get along with, right, and
13   had assigned him a demolition project that my         13   there's no particular reason, you just -- you
14   understanding --                                      14   don't see eye to eye. You've had that happen
15     A. Demolition program.                              15   before, right?
16     Q. Demolition program that Mr. Stuff had            16      A. It happens to everybody.
17   done for ten or fifteen years, right?                 17      Q. Yeah. So did you ever, you know, try to
18     A. I don't know how many years he'd done it         18   have your boss or someone else -- instead of
19   at the time, but quite awhile.                        19   sitting in as a witness when you talked to Mr.
20     Q. Okay. And you didn't ask Mr. Stuff to do         20   Marshall, have them try to explain what it was
21   an outline, you asked Mr. Marshall who had never      21   that you wanted him to do as far as that position,
22   done it to do an outline?                             22   because it seems like you guys had some difficulty
23     A. If he wants an outline. Bruce had                23   in communicating?
24   information to pass on to him but it wasn't in an     24      A. Okay.
25   outline format. The information is there, there's     25      Q. Would you agree that you had some

                                                Page 158                                                   Page 160

 1   a demo program, there's a demo process. It's just      1   difficulty in communicating?
 2   if you wanted it in an outline format, it doesn't      2     A. I would agree that there was a lack of
 3   exist. If you want to write it, take the               3   communication.
 4   information, write it, bring it back and let Bruce     4     Q. Okay.
 5   say yes or no if that's right or wrong.                5     A. And communication is on both.
 6      Q. Okay.                                            6     Q. Right. And so what I'm wondering is, you
 7      A. That's where I was headed with that.             7   know, did you ever consider having somebody else
 8      Q. All right. I'm just trying to -- I'm             8   try to help explain to Mr. Marshall what you
 9   just trying to understand and I'm trying to put it     9   expected him to do in the job that he was being
10   into terms that I can understand, so I apologize,     10   transitioned into, because you said he was
11   but like, for example, you know, I've been accused    11   resistant to change from you?
12   by my wife a time or two of ignoring the              12     A. Yeah.
13   directions and trying to put something together       13     Q. Did you ever have anybody else talk with
14   and finding out a little too late that I had          14   him about it or try to explain it to him?
15   forgotten a step and I had to disassemble it and      15     A. I didn't request anybody, no.
16   look at the directions and put it together right.     16     Q. Okay. Did you think about doing that?
17      A. Correct.                                        17     A. Yes.
18      Q. Have you ever had that happen?                  18     Q. Okay. Why didn't you do it?
19      A. Oh, yeah.                                       19     A. We weren't together that long. I mean...
20      Q. Well, what I'm trying to figure out here        20     Q. It was over a year.
21   is, it seems like Mr. Marshall is being given a       21     A. Yeah.
22   project or a program to do, he doesn't know how to    22     Q. So that's quite a bit of time. Did you
23   do it, he's never done it before, and you're          23   ever -- when you looked through your notes did you
24   asking him and expecting him to do it without any     24   see any notes about any conversations you'd had
25   instructions. How do you expect him to get it         25   about trying to have someone in some kind of an

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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 42 of 43
Ervin J. Marshall v.                                                                                   Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                                              May 31, 2019
                                                Page 161                                                      Page 163

 1   apprentice program to learn Mr. Marshall's job?        1   Curbow and he didn't share it with me. I don't
 2      A. I do not have a note on that. It was my          2   know the answer to that.
 3   idea at the beginning when I discovered how much       3           MR. McKEE: I don't think I've got
 4   tribal knowledge Joe had that was going to leave       4   any more questions.
 5   if Joe left that position and the position that it     5           MR. VOGEL: I don't have any
 6   left the railroad in of not having some process in     6   questions. We'll read and sign.
 7   place or somebody in place to do that going            7         (The deposition proceedings concluded at
 8   forward.                                               8   4:15 p.m.)
 9      Q. How long have you been having to deal            9
10   with the scales since Mr. Marshall left?              10
11      A. Since Andrew left.                              11
12      Q. Okay.                                           12
13      A. So approximately 2017.                          13
14      Q. Okay. Did Mr. Marshall ever send you any        14
15   e-mails or documents detailing how the scale          15
16   processes were done?                                  16
17      A. Yeah, he had detail steps of what -- you        17
18   know, the mechanical steps of what it is and what     18
19   made them work, yes.                                  19
20      Q. Okay. So when did he get those to you?          20
21      A. Pretty close after we first started             21
22   working together.                                     22
23      Q. So we looked at that PIP that you wanted        23
24   to put Mr. Marshall on. Do you still believe that     24
25   it was accurate?                                      25


                                                Page 162                                                      Page 164
                                                            1                  DEPONENT'S SIGNATURE
 1     A. What document are we talking about now?
                                                            2
 2   I don't see what's not accurate in it because of
                                                            3   In re: Ervin J. Marshall, vs. Burlington Northern
 3   what I know now.                                               Santa Fe, LLC, d/b/a BNSF Railway Company.
                                                            4            Case No. 2:18-CV-02385-JWL-JPO
 4     Q. Okay. Did you read any of the e-mails or
                                                            5
 5   documents that Mr. Marshall responded to you as
 6   far as your evaluations and the PIP?                   6   Date:         May 31st, 2019

 7     A. I was shown some of them when we went             7   Deponent:     Mr. Bruce Stuff

 8   through our prep.                                      8
 9     Q. Okay. Back during 2016 did you read               9
10   them?                                                 10            I, MR. JOSEPH BUELT, do hereby state that
                                                                I have read the foregoing questions and answers
11     A. I don't recall if I read them then or            11   appearing in this transcript of my deposition
                                                                consisting of 164 pages; that this is a true and
12   not.                                                  12   accurate report of said answers given in response
                                                                to the questions appearing,
13     Q. Do you know why you didn't read them?            13
14     A. I don't think they were addressed to me.         14
                                                                              ____________________________
15     Q. Were you given copies of them?                   15                        JOSEPH BUELT
16     A. I don't recall.                                  16
17     Q. Okay. If somebody was given an                   17                      Subscribed and sworn to
18   evaluation and an opportunity to respond -- well,     18   before me this_____ day of______________, 2019.
19   first, let me ask that. When you give an employee     19
                                                                              _____________________________
20   an evaluation they're allowed to respond to it,       20                  Notary Public within and for
21   right?                                                21
22     A. Yes.                                             22                 _______________County,________
23     Q. Okay. And so if Mr. Marshall responded           23
                                                                My commission expires:
24   why would you not have reviewed it?                   24
25     A. It may have been addressed to Dwayne             25


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       Case 2:18-cv-02385-JWL Document 40-3 Filed 07/26/19 Page 43 of 43
Ervin J. Marshall v.                                                             Joseph Buelt
Burlington Northern Santa Fe, LLC; et al.                                        May 31, 2019
                                                     Page 165
 1                        ERRATA SHEET
 2
     In re: Ervin J. Marshall, vs. Burlington Northern
 3       Santa Fe, LLC, d/b/a BNSF Railway Company.
              Case No. 2:18-CV-02385-JWL-JPO
 4
 5   Date:          May 31st, 2019
     Deponent:      Mr. Joseph Buelt
 6
 7   Page ______ line ______
     Should read:___________________________________
 8   Reason:________________________________________
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     Should read:___________________________________
18   Reason_________________________________________
19
                     _____________________________
20                          JOSEPH BUELT
21                 Subscribed and sworn to before me
     this _____ day of ___________________, 2019.
22
                     ______________________________
23                   Notary Public within and for
24                   _______________ County, ______
25   Commission expires:


                                                     Page 166
 1                    C E R T I F I C A T E
 2   STATE OF KANSAS        )
                            ) Ss:
 3   GEARY COUNTY           )
 4
 5        I, Sandra K. Powers, a Certified Shorthand
 6   Reporter within and for the State of Kansas,
 7   hereby certify that the within-named witness was
 8   first duly sworn to testify the truth, and that
 9   the deposition given in response to the questions
10   propounded, as herein set forth, was first taken
11   in machine shorthand by me and afterwards reduced
12   to writing under my direction and supervision and
13   is a true and correct record of the testimony
14   given by the witness.
15        I further certify that I am not a relative or
16   employee or attorney or counsel of any of the
17   parties, or a relative or employee of such
18   attorneys or counsel, or financially interested in
19   the action.
20        WITNESS my hand and official seal at my
21   office, this 31st day of May, 2019.
22
23                   ________________________
                     Sandra K. Powers, C.S.R.
24
25


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